      Fill in this information to identify your case:

      United States Bankruptcy Court for the:

      É»-¬»®² Ü·-¬®·½¬ ±º É¿-¸·²¹¬±²

      Case number (If known): _________________________ Chapter you are filing under:
                                                             ì Chapter 7
                                                                                                                            Check if this is an
                                                                Chapter 11
                                                                Chapter 12
                                                                                                                            amended filing
                                                                Chapter 13




Official Form 101
Voluntary Petition for Individuals Filing for Bankruptcy                                                                                    12/22

The bankruptcy forms use you and Debtor 1 to refer to a debtor filing alone. A married couple may file a bankruptcy case together—called a
joint case—and in joint cases, these forms use you to ask for information from both debtors. For example, if a form asks, “Do you own a car,”
the answer would be yes if either debtor owns a car. When information is needed about the spouses separately, the form uses Debtor 1 and
Debtor 2 to distinguish between them. In joint cases, one of the spouses must report information as Debtor 1 and the other as Debtor 2. The
same person must be Debtor 1 in all of the forms.
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number
(if known). Answer every question.

 Part 1:     Identify Yourself

                                       About Debtor 1:                                            About Debtor 2 (Spouse Only in a Joint Case):
 1.   Your full name
                                       Ó¿®¹«»®·¬»
                                       __________________________________________________         __________________________________________________
      Write the name that is on your   First name                                                 First name
      government-issued picture
      identification (for example,     ß²²»
                                       __________________________________________________         __________________________________________________
      your driver’s license or         Middle name                                                Middle name
      passport).                       Ú¿´½±óÌ¿§´±®
                                       __________________________________________________         __________________________________________________
                                       Last name                                                  Last name
      Bring your picture
      identification to your meeting   ___________________________                                ___________________________
      with the trustee.                Suffix (Sr., Jr., II, III)                                 Suffix (Sr., Jr., II, III)



 2.   All other names you              __________________________________________________         __________________________________________________
                                       First name                                                 First name
      have used in the last 8
      years                            __________________________________________________         __________________________________________________
                                       Middle name                                                Middle name
      Include your married or
      maiden names and any              __________________________________________________        __________________________________________________
                                       Last name                                                  Last name
      assumed, trade names and
      doing business as names.         __________________________________________________         __________________________________________________
                                       First name                                                 First name
      Do NOT list the name of any
                                       __________________________________________________         __________________________________________________
      separate legal entity such as
                                       Middle name                                                Middle name
      a corporation, partnership, or
      LLC that is not filing this      __________________________________________________         __________________________________________________
      petition.                        Last name                                                  Last name

                                       __________________________________________________         __________________________________________________
                                       Business name (if applicable)                              Business name (if applicable)

                                       __________________________________________________         __________________________________________________
                                       Business name (if applicable)                              Business name (if applicable)




 3.   Only the last 4 digits of
                                       xxx               ç ____
                                                – xx – ____  ï ____
                                                                 é ____
                                                                    ð                             xxx      – xx – ____ ____ ____ ____
      your Social Security
      number or federal                OR                                                         OR
      Individual Taxpayer
      Identification number            9 xx – xx – ____ ____ ____ ____                            9 xx – xx – ____ ____ ____ ____
      (ITIN)

Official Form 101                               Voluntary Petition for Individuals Filing for Bankruptcy                           page 1




         Case 24-10685-CMA                      Doc 1       Filed 03/21/24           Ent. 03/21/24 13:53:30               Pg. 1 of 56
Debtor 1      Ó¿®¹«»®·¬»     ß²² Ú¿´½±óÌ¿§´±®
              _______________________________________________________                             Case number (if known)_____________________________________
              First Name   Middle Name           Last Name



                                         About Debtor 1:                                                About Debtor 2 (Spouse Only in a Joint Case):


 4.   Your Employer                      ___ ___ – ___ ___ ___ ___ ___ ___ ___                          ___ ___ – ___ ___ ___ ___ ___ ___ ___
      Identification Number              EIN                                                            EIN
      (EIN), if any.
                                         ___ ___ – ___ ___ ___ ___ ___ ___ ___                          ___ ___ – ___ ___ ___ ___ ___ ___ ___
                                         EIN                                                            EIN



 5.   Where you live                                                                                    If Debtor 2 lives at a different address:


                                         ïíîï Ò ïîî²¼ Í¬
                                         _________________________________________________              _________________________________________________
                                         Number     Street                                              Number     Street


                                         _________________________________________________              _________________________________________________


                                         Í»¿¬¬´»                         Éß       çèïíí
                                         _________________________________________________              _________________________________________________
                                         City                            State   ZIP Code               City                            State   ZIP Code

                                         Õ·²¹
                                         _________________________________________________              _________________________________________________
                                         County                                                         County


                                         If your mailing address is different from the one              If Debtor 2’s mailing address is different from
                                         above, fill it in here. Note that the court will send          yours, fill it in here. Note that the court will send
                                         any notices to you at this mailing address.                    any notices to this mailing address.


                                         _________________________________________________              _________________________________________________
                                         Number     Street                                              Number     Street

                                         _________________________________________________              _________________________________________________
                                         P.O. Box                                                       P.O. Box

                                         _________________________________________________              _________________________________________________
                                         City                            State   ZIP Code               City                            State   ZIP Code




 6.   Why you are choosing               Check one:                                                     Check one:
      this district to file for          ì Over the last 180 days before filing this petition,              Over the last 180 days before filing this petition,
      bankruptcy
                                            I have lived in this district longer than in any                I have lived in this district longer than in any
                                            other district.                                                 other district.

                                            I have another reason. Explain.                                 I have another reason. Explain.
                                            (See 28 U.S.C. § 1408.)                                         (See 28 U.S.C. § 1408.)
                                            ________________________________________                        ________________________________________
                                            ________________________________________                        ________________________________________
                                            ________________________________________                        ________________________________________
                                            ________________________________________                        ________________________________________




  Official Form 101                              Voluntary Petition for Individuals Filing for Bankruptcy                                      page 2




           Case 24-10685-CMA                    Doc 1         Filed 03/21/24                   Ent. 03/21/24 13:53:30                Pg. 2 of 56
Debtor 1        Ó¿®¹«»®·¬»     ß²² Ú¿´½±óÌ¿§´±®
                _______________________________________________________                             Case number (if known)_____________________________________
                First Name   Middle Name             Last Name




Part 2:       Tell the Court About Your Bankruptcy Case


7.    The chapter of the                   Check one. (For a brief description of each, see Notice Required by 11 U.S.C. § 342(b) for Individuals Filing
      Bankruptcy Code you                  for Bankruptcy (Form 2010)). Also, go to the top of page 1 and check the appropriate box.
      are choosing to file                 ì   Chapter 7
      under
                                               Chapter 11
                                               Chapter 12
                                               Chapter 13


8.    How you will pay the fee                 I will pay the entire fee when I file my petition.
                                               local court for more details about how you may pay. Typically, if you are paying the fee
                                               yourself, you may                                                          attorney is
                                               submitting your payment on your behalf, your attorney may pay with a credit card or check
                                               with a pre-printed address.

                                           ì   I need to pay the fee in installments. If you choose this option, sign and attach the
                                               Application for Individuals to Pay The Filing Fee in Installments (Official Form 103A).

                                               I request that my fee be waived (You may request this option only if you are filing for Chapter 7.
                                               By law, a judge may, but is not required to, waive your fee, and may do so only if your income is
                                               less than 150% of the official poverty line that applies to your family size and you are unable to
                                               pay the fee in installments). If you choose this option, you must fill out the Application to Have the
                                               Chapter 7 Filing Fee Waived (Official Form 103B) and file it with your petition.


9.    Have you filed for                   ì   No
      bankruptcy within the
      last 8 years?                            Yes. District __________________________ When      _______________ Case number ___________________________
                                                                                                  MM / DD / YYYY

                                                     District __________________________ When     _______________ Case number ___________________________
                                                                                                  MM / DD / YYYY

                                                     District __________________________ When     _______________ Case number ___________________________
                                                                                                  MM / DD / YYYY



10. Are any bankruptcy                     ì   No
      cases pending or being
      filed by a spouse who is                 Yes. Debtor _________________________________________________ Relationship to you        _____________________
      not filing this case with                      District __________________________ When     _______________ Case number, if known____________________
      you, or by a business                                                                       MM / DD / YYYY
      partner, or by an
      affiliate?
                                                     Debtor _________________________________________________ Relationship to you       _____________________

                                                     District __________________________ When     _______________ Case number, if known____________________
                                                                                                  MM / DD / YYYY



11. Do you rent your                       ì
                                               No. Go to line 12.
      residence?                               Yes. Has your landlord obtained an eviction judgment against you?

                                                          No. Go to line 12.
                                                          Yes. Fill out Initial Statement About an Eviction Judgment Against You (Form 101A) and file it as
                                                          part of this bankruptcy petition.




     Official Form 101                               Voluntary Petition for Individuals Filing for Bankruptcy                                  page 3




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Debtor 1         Ó¿®¹«»®·¬» ß²² Ú¿´½±óÌ¿§´±®
              _______________________________________________________                                  Case number (if known)_____________________________________
              First Name        Middle Name             Last Name




Part 3:     Report About Any Businesses You Own as a Sole Proprietor


12. Are you a sole proprietor                 x No. Go to Part 4.
    of any full- or part-time
    business?                                     Yes. Name and location of business
    A sole proprietorship is a
    business you operate as an                         _______________________________________________________________________________________
                                                       Name of business, if any
    individual, and is not a
    separate legal entity such as
    a corporation, partnership, or                     _______________________________________________________________________________________
                                                       Number    Street
    LLC.
    If you have more than one
                                                       _______________________________________________________________________________________
    sole proprietorship, use a
    separate sheet and attach it
    to this petition.                                  _______________________________________________        _______      __________________________
                                                        City                                                  State        ZIP Code


                                                       Check the appropriate box to describe your business:
                                                           Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                                           Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                                           Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                                           Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                                           None of the above


13. Are you filing under                      If you are filing under Chapter 11, the court must know whether you are a small business debtor
    Chapter 11 of the                                                                    so that it can set appropriate deadlines. If you indicate that you
    Bankruptcy Code and                       are a small business debtor                                                        , you must attach your
                                              most recent balance sheet, statement of operations, cash-flow statement, and federal income tax return or
    are you a small business
                                              if any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
    debtor
                                              ì   No. I am not filing under Chapter 11.
             ?                                    No. I am filing under Chapter 11, but I am NOT a small business debtor according to the definition in
    For a definition of small                         the Bankruptcy Code.
    business debtor, see
    11 U.S.C. § 101(51D).




  Official Form 101                                     Voluntary Petition for Individuals Filing for Bankruptcy                                   page 4




           Case 24-10685-CMA                           Doc 1         Filed 03/21/24             Ent. 03/21/24 13:53:30                   Pg. 4 of 56
Debtor 1      Ó¿®¹«»®·¬» ß²² Ú¿´½±óÌ¿§´±®
              _______________________________________________________                         Case number (if known)_____________________________________
              First Name    Middle Name            Last Name




 Part 4:     Report if You Own or Have Any Hazardous Property or Any Property That Needs Immediate Attention


 14. Do you own or have any               ì   No
     property that poses or is
     alleged to pose a threat                 Yes. What is the hazard?     ________________________________________________________________________
     of imminent and
     identifiable hazard to                                                ________________________________________________________________________
     public health or safety?
     Or do you own any
     property that needs
                                                    If immediate attention is needed, why is it needed? _______________________________________________
     immediate attention?
     For example, do you own                                               ________________________________________________________________________
     perishable goods, or livestock
     that must be fed, or a building
     that needs urgent repairs?
                                                    Where is the property? ________________________________________________________________________
                                                                           Number        Street


                                                                           ________________________________________________________________________

                                                                           ________________________________________ _______        ____________________
                                                                           City                                     State          ZIP Code




  Official Form 101                                Voluntary Petition for Individuals Filing for Bankruptcy                              page 5




           Case 24-10685-CMA                       Doc 1       Filed 03/21/24           Ent. 03/21/24 13:53:30                 Pg. 5 of 56
Debtor 1       Ó¿®¹«»®·¬»
              First Name
                            ß²² Ú¿´½±óÌ¿§´±®
              _______________________________________________________
                       Middle Name   Last Name
                                                                                                   Case number (if known)_____________________________________




Part 5:     Explain Your Efforts to Receive a Briefing About Credit Counseling

                                      About Debtor 1:                                                    About Debtor 2 (Spouse Only in a Joint Case):
15. Tell the court whether
   you have received a
   briefing about credit              You must check one:                                                You must check one:
   counseling.                        ì I received a briefing from an approved credit                       I received a briefing from an approved credit
                                         counseling agency within the 180 days before I                     counseling agency within the 180 days before I
    The law requires that you            filed this bankruptcy petition, and I received a                   filed this bankruptcy petition, and I received a
    receive a briefing about credit      certificate of completion.                                         certificate of completion.
    counseling before you file for
                                         Attach a copy of the certificate and the payment                   Attach a copy of the certificate and the payment
    bankruptcy. You must
                                         plan, if any, that you developed with the agency.                  plan, if any, that you developed with the agency.
    truthfully check one of the
    following choices. If you            I received a briefing from an approved credit                      I received a briefing from an approved credit
    cannot do so, you are not            counseling agency within the 180 days before I                     counseling agency within the 180 days before I
    eligible to file.                    filed this bankruptcy petition, but I do not have a                filed this bankruptcy petition, but I do not have a
                                         certificate of completion.                                         certificate of completion.
    If you file anyway, the court
                                         Within 14 days after you file this bankruptcy petition,            Within 14 days after you file this bankruptcy petition,
    can dismiss your case, you
                                         you MUST file a copy of the certificate and payment                you MUST file a copy of the certificate and payment
    will lose whatever filing fee
                                         plan, if any.                                                      plan, if any.
    you paid, and your creditors
    can begin collection activities      I certify that I asked for credit counseling                       I certify that I asked for credit counseling
    again.                               services from an approved agency, but was                          services from an approved agency, but was
                                         unable to obtain those services during the 7                       unable to obtain those services during the 7
                                         days after I made my request, and exigent                          days after I made my request, and exigent
                                         circumstances merit a 30-day temporary waiver                      circumstances merit a 30-day temporary waiver
                                         of the requirement.                                                of the requirement.
                                         To ask for a 30-day temporary waiver of the                        To ask for a 30-day temporary waiver of the
                                         requirement, attach a separate sheet explaining                    requirement, attach a separate sheet explaining
                                         what efforts you made to obtain the briefing, why                  what efforts you made to obtain the briefing, why
                                         you were unable to obtain it before you filed for                  you were unable to obtain it before you filed for
                                         bankruptcy, and what exigent circumstances                         bankruptcy, and what exigent circumstances
                                         required you to file this case.                                    required you to file this case.
                                         Your case may be dismissed if the court is                         Your case may be dismissed if the court is
                                         dissatisfied with your reasons for not receiving a                 dissatisfied with your reasons for not receiving a
                                         briefing before you filed for bankruptcy.                          briefing before you filed for bankruptcy.
                                         If the court is satisfied with your reasons, you must              If the court is satisfied with your reasons, you must
                                         still receive a briefing within 30 days after you file.            still receive a briefing within 30 days after you file.
                                         You must file a certificate from the approved                      You must file a certificate from the approved
                                         agency, along with a copy of the payment plan you                  agency, along with a copy of the payment plan you
                                         developed, if any. If you do not do so, your case                  developed, if any. If you do not do so, your case
                                         may be dismissed.                                                  may be dismissed.
                                         Any extension of the 30-day deadline is granted                    Any extension of the 30-day deadline is granted
                                         only for cause and is limited to a maximum of 15                   only for cause and is limited to a maximum of 15
                                         days.                                                              days.

                                         I am not required to receive a briefing about                      I am not required to receive a briefing about
                                         credit counseling because of:                                      credit counseling because of:

                                            Incapacity.     I have a mental illness or a mental                 Incapacity.    I have a mental illness or a mental
                                                            deficiency that makes me                                           deficiency that makes me
                                                            incapable of realizing or making                                   incapable of realizing or making
                                                            rational decisions about finances.                                 rational decisions about finances.
                                            Disability.     My physical disability causes me                    Disability.    My physical disability causes me
                                                            to be unable to participate in a                                   to be unable to participate in a
                                                            briefing in person, by phone, or                                   briefing in person, by phone, or
                                                            through the internet, even after I                                 through the internet, even after I
                                                            reasonably tried to do so.                                         reasonably tried to do so.
                                            Active duty. I am currently on active military                      Active duty. I am currently on active military
                                                         duty in a military combat zone.                                     duty in a military combat zone.
                                         If you believe you are not required to receive a                   If you believe you are not required to receive a
                                         briefing about credit counseling, you must file a                  briefing about credit counseling, you must file a
                                         motion for waiver of credit counseling with the court.             motion for waiver of credit counseling with the court.




  Official Form 101                            Voluntary Petition for Individuals Filing for Bankruptcy                                         page




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Debtor 1      Ó¿®¹«»®·¬» ß²² Ú¿´½±óÌ¿§´±®
             _______________________________________________________                                Case number (if known)_____________________________________
             First Name    Middle Name             Last Name




Part 6:     Answer These Questions for Reporting Purposes

                                         16a. Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. § 101(8)
16. What kind of debts do
    you have?
                                                  No. Go to line 16b.
                                              ì   Yes. Go to line 17.

                                         16b. Are your debts primarily business debts? Business debts are debts that you incurred to obtain
                                              money for a business or investment or through the operation of the business or investment.
                                              ì   No. Go to line 16c.
                                                  Yes. Go to line 17.

                                         16c. State the type of debts you owe that are not consumer debts or business debts.
                                              _______________________________________________________________

17. Are you filing under
    Chapter 7?                               No. I am not filing under Chapter 7. Go to line 18.
                                         ì   Yes. I am filing under Chapter 7. Do you estimate that after any exempt property is excluded and
    Do you estimate that after
    any exempt property is                        administrative expenses are paid that funds will be available to distribute to unsecured creditors?
    excluded and                                   ì   No
    administrative expenses
    are paid that funds will be                        Yes
    available for distribution
    to unsecured creditors?

18. How many creditors do                ì   1-49                                   1,000-5,000                                25,001-50,000
    you estimate that you                    50-99                                  5,001-10,000                               50,001-100,000
    owe?                                     100-199                                10,001-25,000                              More than 100,000
                                             200-999

19. How much do you                        $0-$50,000                               $1,000,001-$10 million                     $500,000,001-$1 billion
    estimate your assets to                $50,001-$100,000                         $10,000,001-$50 million                    $1,000,000,001-$10 billion
    be worth?                              $100,001-$500,000                        $50,000,001-$100 million                   $10,000,000,001-$50 billion
                                         ì $500,001-$1 million                      $100,000,001-$500 million                  More than $50 billion

20. How much do you                        $0-$50,000                               $1,000,001-$10 million                     $500,000,001-$1 billion
   estimate your liabilities               $50,001-$100,000                         $10,000,001-$50 million                    $1,000,000,001-$10 billion
   to be?                                ì $100,001-$500,000                        $50,000,001-$100 million                   $10,000,000,001-$50 billion
                                           $500,001-$1 million                      $100,000,001-$500 million                  More than $50 billion
Part 7:     Sign Below

                                         I have examined this petition, and I declare under penalty of perjury that the information provided is true and
For you                                  correct.
                                         If I have chosen to file under Chapter 7, I am aware that I may proceed, if eligible, under Chapter 7, 11,12, or 13
                                         of title 11, United States Code. I understand the relief available under each chapter, and I choose to proceed
                                         under Chapter 7.
                                         If no attorney represents me and I did not pay or agree to pay someone who is not an attorney to help me fill out
                                         this document, I have obtained and read the notice required by 11 U.S.C. § 342(b).
                                         I request relief in accordance with the chapter of title 11, United States Code, specified in this petition.
                                         I understand making a false statement, concealing property, or obtaining money or property by fraud in connection
                                         with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.
                                         18 U.S.C. §§ 152, 1341, 1519, and 3571.

                                              ñ-ñ Ó¿®¹«»®·¬» ß²²» Ú¿´½±óÌ¿§´±®
                                             ______________________________________________                 _____________________________
                                             Signature of Debtor 1                                          Signature of Debtor 2

                                                               03/18/2024
                                             Executed on _________________                                  Executed on __________________
                                                               MM   / DD   / YYYY                                          MM / DD     / YYYY


  Official Form 101                                Voluntary Petition for Individuals Filing for Bankruptcy                                       page




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Debtor 1        Ó¿®¹«»®·¬» ß²² Ú¿´½±óÌ¿§´±®
                _______________________________________________________                                 Case number (if known)_____________________________________
                First Name     Middle Name             Last Name




                                             I, the attorney for the debtor(s) named in this petition, declare that I have informed the debtor(s) about eligibility
For your attorney, if you are                to proceed under Chapter 7, 11, 12, or 13 of title 11, United States Code, and have explained the relief
      Kohl's by one
represented                                  available under each chapter for which the person is eligible. I also certify that I have delivered to the debtor(s)
                                             the notice required by 11 U.S.C. § 342(b) and, in a case in which § 707(b)(4)(D) applies, certify that I have no
If you are not represented                   knowledge after an inquiry that the information in the schedules filed with the petition is incorrect.
       PO Box 3042
by an attorney,  you do not
need to file this page.
                                                 ñ-ñ Ù®»¹±®§ É·´´·¿³ Ø·²®·½¸-»²
                                                 _________________________________                               Date          ðíñïìñîðîì
                                                                                                                               _________________
           Milwaukee, WI 537                    Signature of Attorney for Debtor                                               MM     /   DD / YYYY




                                                Ù®»¹±®§ É·´´·¿³ Ø·²®·½¸-»²
                                                _________________________________________________________________________________________________
                                                Printed name

                                                Í¿³»
                                                _________________________________________________________________________________________________
                                                Firm name

                                                îíêíî Ø·¹¸©¿§ çç ÍÌÛ Úýîçê
                                                _________________________________________________________________________________________________
                                                Number Street

                                                _________________________________________________________________________________________________

                                                Û¼³±²¼-
                                                ______________________________________________________ Éß
                                                                                                       ____________ çèðîê
                                                                                                                    ______________________________
                                                City                                                   State        ZIP Code




                                                              øîðê÷ ëìîóëèîð
                                                Contact phone _____________________________________             Email address ¹ò¸·²®·½¸-»²à½±³½¿-¬ò²»¬
                                                                                                                               ______________________________




                                                ïçéèì
                                                ______________________________________________________ Éß
                                                                                                       ____________
                                                Bar number                                             State




  Official Form 101                                    Voluntary Petition for Individuals Filing for Bankruptcy                                       page




           Case 24-10685-CMA                          Doc 1          Filed 03/21/24              Ent. 03/21/24 13:53:30                     Pg. 8 of 56
 Fill in this information to identify your case:

 Debtor 1          Ó¿®¹«»®·¬» ß²²» Ú¿´½±óÌ¿§´±®
                   __________________________________________________________________
                     First Name                      Middle Name                      Last Name

 Debtor 2            ________________________________________________________________
 (Spouse, if filing) First Name                      Middle Name                      Last Name


 United States Bankruptcy Court for the: É»-¬»®² Ü·-¬®·½¬
                                         __________       ±º É¿-¸·²¹¬±²
                                                     District of __________

 Case number         ___________________________________________                                                                                                               Check if this is an
                     (If known)                                                                                                                                                amended filing



                                  106Sum
Summary of Your Assets and Liabilities and Certain Statistical Information                                                                                                                 12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. Fill out all of your schedules first; then complete the information on this form. If you are filing amended schedules after you file
your original forms, you must fill out a new Summary and check the box at the top of this page.


Part 1:        Summarize Your Assets


                                                                                                                                                                        Your assets
                                                                                                                                                                        Value of what you own
1. Schedule A/B: Property (Official Form 106A/B)
    1a. Copy line 55, Total real estate, from Schedule A/B ..........................................................................................................
                                                                                                                                                                              580,800.00
                                                                                                                                                                            $ ________________



   1b. Copy line 62, Total personal property, from Schedule A/B ...............................................................................................
                                                                                                                                                                                 3,986.00
                                                                                                                                                                            $ ________________


   1c. Copy line 63, Total of all property on Schedule A/B .........................................................................................................          584,786.00
                                                                                                                                                                            $ ________________



Part 2:        Summarize Your Liabilities



                                                                                                                                                                        Your liabilities
                                                                                                                                                                        Amount you owe
2. Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)
                                                                                                                                                                              291,046.00
                                                                                                                                                                            $ ________________
    2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D ............


3. Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)
                                                                                                                                                                              169.00
                                                                                                                                                                            $ ________________
    3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule E/F ............................................

   3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule E/F .......................................                                  38,365.00
                                                                                                                                                                        + $ ________________

                                                                                                                                       Your total liabilities                 329,580.00
                                                                                                                                                                            $ ________________



Part 3:        Summarize Your Income and Expenses


4. Schedule I: Your Income (Official Form 106I)                                                                                                                                3130.00
   Copy your combined monthly income from line 12 of Schedule I ..........................................................................................                  $ ________________


5. Schedule J: Your Expenses (Official Form 106J)                                                                                                                               3331.00
   Copy your monthly expenses from line 22c of Schedule J ....................................................................................................              $ ________________




Official Form 106Sum                                 Summary of Your Assets and Liabilities and Certain Statistical Information                                                  page 1 of 2



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   Debtor 1        Ó¿®¹«»®·¬»     ß²²» Ú¿´½±óÌ¿§´±®
                   _______________________________________________________                            Case number (if known)_____________________________________
                    First Name     Middle Name        Last Name




   Part 4:        Answer These Questions for Administrative and Statistical Records

   6. Are you filing for bankruptcy under Chapters 7, 11, or 13?

              No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.
       x Yes

   7. What kind of debt do you have?

       x Your debts are primarily consumer debts. Consumer debts are those “incurred by an individual primarily for a personal,
              family, or household purpose.” 11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C. § 159.

              Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit
              this form to the court with your other schedules.




                                                                                                                                            200
   8. From the Statement of Your Current Monthly Income: Copy your total current monthly income from Official
       Form 122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14.                                                               $ _________________




   9. Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:



                                                                                                              Total claim


        From Part 4 on Schedule E/F, copy the following:

                                                                                                                0
                                                                                                              $_____________________
       9a. Domestic support obligations (Copy line 6a.)

                                                                                                                169
       9b. Taxes and certain other debts you owe the government. (Copy line 6b.)                              $_____________________

                                                                                                                    0
                                                                                                              $_____________________
       9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.)

                                                                                                                  0
       9d. Student loans. (Copy line 6f.)                                                                     $_____________________

                                                                                                                  0
       9e. Obligations arising out of a separation agreement or divorce that you did not report as            $_____________________
           priority claims. (Copy line 6g.)

       9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.)
                                                                                                                  0
                                                                                                           + $_____________________


       9g. Total. Add lines 9a through 9f.
                                                                                                                 169
                                                                                                              $_____________________




Official Form 106Sum         Summary of Your Assets and Liabilities and Certain Statistical Information                                          page 2 of 2



          Case 24-10685-CMA                         Doc 1         Filed 03/21/24              Ent. 03/21/24 13:53:30                   Pg. 10 of 56
Fill in this information to identify your case and this filing:


Debtor 1           Ó¿®¹«»®·¬» ß²²» Ú¿´½±óÌ¿§´±®
                  __________________________________________________________________
                    First Name               Middle Name                Last Name

Debtor 2            ________________________________________________________________
(Spouse, if filing) First Name               Middle Name                Last Name


United States Bankruptcy Court for the: É»-¬»®² Ü·-¬®·½¬
                                        __________       ±º É¿-¸·²¹¬±²
                                                     District of ___________

Case number         ___________________________________________
                                                                                                                                             Check if this is an
                                                                                                                                             amended filing

                                 106A/B
Schedule A/B: Property                                                                                                                                  12/15

In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in the
category where you think it fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally
responsible for supplying correct information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write your name and case number (if known). Answer every question.

Part 1:        Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

1. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?

         No. Go to Part 2.
    x Yes. Where is the property?
                                                                 What is the property? Check all that apply.       Do not deduct secured claims or exemptions. Put
                                                                 x    Single-family home                           the amount of any secured claims on Schedule D:
            1321 N 122nd St
      1.1. _________________________________________                                                               Creditors Who Have Claims Secured by Property.
                                                                      Duplex or multi-unit building
           Street address, if available, or other description
                                                                      Condominium or cooperative                   Current value of the     Current value of the
                                                                      Manufactured or mobile home                  entire property?         portion you own?
                                                                                                                    580,800.00               580,800.00
             _________________________________________
                                                                      Land
              Seattle, WA 98133                                                                                    $________________        $_______________
                                                                      Investment property
             _________________________________________                                                             Describe the nature of your ownership
                                                                      Timeshare
             City                    State   ZIP Code                                                              interest (such as fee simple, tenancy by
                                                                      Other __________________________________     the entireties, or a life estate), if known.
                                                                 Who has an interest in the property? Check one.
                                                                                                                   Fee Simple
                 King                                            x Debtor 1 only                                   __________________________________________
             _________________________________________
             County                                                   Debtor 2 only
                                                                      Debtor 1 and Debtor 2 only                      Check if this is community property
                                                                                                                      (see instructions)
                                                                      At least one of the debtors and another
                                                                 Other information you wish to add about this item, such as local
                                                                                                 Zestimated on Zillow, Home purchased July of 1968
                                                                 property identification number: _______________________________
    If you own or have more than one, list here:
                                                                What is the property? Check all that apply.        Do not deduct secured claims or exemptions. Put
                                                                     Single-family home                            the amount of any secured claims on Schedule D:
      1.2. ________________________________________                                                                Creditors Who Have Claims Secured by Property.
                                                                     Duplex or multi-unit building
           Street address, if available, or other description
                                                                     Condominium or cooperative                    Current value of the     Current value of the
                                                                     Manufactured or mobile home                   entire property?         portion you own?
             ________________________________________
                                                                     Land                                          $________________        $_________________
                                                                     Investment property
             ________________________________________                                                              Describe the nature of your ownership
                                                                     Timeshare
             City                    State   ZIP Code                                                              interest (such as fee simple, tenancy by
                                                                     Other __________________________________      the entireties, or a life estate), if known.
                                                                Who has an interest in the property? Check one.    __________________________________________

                                                                     Debtor 1 only
             ________________________________________
             County                                                  Debtor 2 only
                                                                     Debtor 1 and Debtor 2 only                       Check if this is community property
                                                                     At least one of the debtors and another          (see instructions)

                                                                Other information you wish to add about this item, such as local
                                                                property identification number: _______________________________


Official Form 106A/B                                            Schedule A/B: Property                                                              page 1


           Case 24-10685-CMA                         Doc 1        Filed 03/21/24                  Ent. 03/21/24 13:53:30            Pg. 11 of 56
Debtor 1       Ó¿®¹«»®·¬»     ß²²» Ú¿´½±óÌ¿§´±®
               _______________________________________________________                                  Case number (if known)_____________________________________
                First Name       Middle Name          Last Name




                                                                  What is the property? Check all that apply.              Do not deduct secured claims or exemptions. Put
                                                                      Single-family home                                   the amount of any secured claims on Schedule D:
    1.3. ________________________________________                                                                          Creditors Who Have Claims Secured by Property.
         Street address, if available, or other description           Duplex or multi-unit building
                                                                     Condominium or cooperative                            Current value of the     Current value of the
                                                                                                                           entire property?         portion you own?
            ________________________________________                  Manufactured or mobile home
                                                                      Land                                                 $________________        $_________________

            ________________________________________
                                                                      Investment property
            City                    State   ZIP Code                  Timeshare                                            Describe the nature of your ownership
                                                                                                                           interest (such as fee simple, tenancy by
                                                                      Other __________________________________             the entireties, or a life estate), if known.
                                                                                                                          __________________________________________
                                                                  Who has an interest in the property? Check one.
            ________________________________________                 Debtor 1 only
            County
                                                                     Debtor 2 only
                                                                     Debtor 1 and Debtor 2 only                                Check if this is community property
                                                                                                                               (see instructions)
                                                                     At least one of the debtors and another

                                                                  Other information you wish to add about this item, such as local
                                                                  property identification number: _______________________________


2. Add the dollar value of the portion you own for all of your entries from Part 1, including any entries for pages                                  580,800.00
                                                                                                                                                    $_________________
   you have attached for Part 1. Write that number here. ......................................................................................




Part 2:      Describe Your Vehicles


Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles
you own that someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.

3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

       No
   x Yes
   3.1.     Make:                       Toyota
                                       ______________             Who has an interest in the property? Check one.          Do not deduct secured claims or exemptions. Put
                                  Prius                           x Debtor 1 only                                          the amount of any secured claims on Schedule D:
            Model:               ______________                                                                            Creditors Who Have Claims Secured by Property.

            Year:                 2001
                                 ____________
                                                                     Debtor 2 only
                                                                     Debtor 1 and Debtor 2 only                            Current value of the      Current value of the
                                  200,000
            Approximate mileage: ____________                                                                              entire property?          portion you own?
                                                                     At least one of the debtors and another
            Other information:
                                                                                                                            1200
                                                                                                                           $________________          1200
                                                                                                                                                     $________________
                                                                     Check if this is community property (see
                                                                     instructions)



   If you own or have more than one, describe here:

   3.2.    Make:                        Ford
                                       ______________             Who has an interest in the property? Check one.          Do not deduct secured claims or exemptions. Put

           Model:                       Fusion
                                       ______________
                                                                     Debtor 1 only
                                                                                                                           the amount of any secured claims on Schedule D:
                                                                                                                           Creditors Who Have Claims Secured by Property.

           Year:                        2010
                                       ____________
                                                                     Debtor 2 only
                                                                                                                           Current value of the      Current value of the
                                                                     Debtor 1 and Debtor 2 only
                                 200000
           Approximate mileage: ____________                      x At least one of the debtors and another
                                                                                                                           entire property?          portion you own?

           Other information:
                                                                                                                            1600
                                                                                                                           $________________           800
                                                                                                                                                     $________________
                                                                     Check if this is community property (see
             1/2 Interest in the car                                 instructions)




                                                                  Schedule A/B: Property                                                                    page 2


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Debtor 1         Ó¿®¹«»®·¬»     ß²²» Ú¿´½±óÌ¿§´±®
                 _______________________________________________________                                                        Case number (if known)_____________________________________
                  First Name          Middle Name               Last Name




           Make:                            ______________                   Who has an interest in the property? Check one.                            Do not deduct secured claims or exemptions. Put
   3.3.
                                                                                                                                                        the amount of any secured claims on Schedule D:
           Model:                           ______________
                                                                                  Debtor 1 only                                                         Creditors Who Have Claims Secured by Property.
                                                                                  Debtor 2 only
           Year:                            ____________                                                                                                Current value of the        Current value of the
                                                                                  Debtor 1 and Debtor 2 only
           Approximate mileage: ____________                                                                                                            entire property?            portion you own?
                                                                                  At least one of the debtors and another
                                                                                       e
           Other information:
                                                                                  Check if this is community property (see                              $________________           $________________
                                                                                  instructions)


           Make:                            ______________                   Who has an interest in the property? Check one.                            Do not deduct secured claims or exemptions. Put
   3.4.
                                                                                                                                                        the amount of any secured claims on Schedule D:
           Model:                           ______________
                                                                                  Debtor 1 only                                                         Creditors Who Have Claims Secured by Property.
                                                                                  Debtor 2 only
           Year:                            ____________                                                                                                Current value of the        Current value of the
                                                                                  Debtor 1 and Debtor 2 only
           Approximate mileage: ____________                                                                                                            entire property?            portion you own?
                                                                                  At least one of the debtors and another
           Other information:
                                                                                  Check if this is community property (see                              $________________           $________________
                                                                                  instructions)




4. Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
   Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories
   x No
        Yes


           Make:        ____________________                                 Who has an interest in the property? Check one.                            Do not deduct secured claims or exemptions. Put
   4.1.
                                                                                                                                                        the amount of any secured claims on Schedule D:
           Model: ____________________                                            Debtor 1 only                                                         Creditors Who Have Claims Secured by Property.
                                                                                  Debtor 2 only
           Year:        ____________
                                                                                  Debtor 1 and Debtor 2 only                                            Current value of the        Current value of the
           Other information:                                                     At least one of the debtors and another                               entire property?            portion you own?

                                                                                  Check if this is community property (see                              $________________           $________________
                                                                                  instructions)



   If you own or have more than one, list here:

           Make:        ____________________                                 Who has an interest in the property? Check one.                            Do not deduct secured claims or exemptions. Put
   4.2.
                                                                                                                                                        the amount of any secured claims on Schedule D:
           Model: ____________________                                            Debtor 1 only                                                         Creditors Who Have Claims Secured by Property.
                                                                                  Debtor 2 only
           Year:        ____________                                                                                                                    Current value of the        Current value of the
                                                                                  Debtor 1 and Debtor 2 only
                                                                                                                                                        entire property?            portion you own?
           Other information:                                                     At least one of the debtors and another

                                                                                                                                                        $________________           $________________
                                                                                  Check if this is community property (see
                                                                                  instructions)




5. Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for pages                                                                  2000
                                                                                                                                                                                   $_________________
   you have attached for Part 2. Write that number here ........................................................................................................................




                                                                               Schedule A/B: Property                                                                                     page 3


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Debtor 1          Ó¿®¹«»®·¬»     ß²²» Ú¿´½±óÌ¿§´±®
                  _______________________________________________________                                                                    Case number (if known)_____________________________________
                    First Name           Middle Name                   Last Name




Part 3:        Describe Your Personal and Household Items

                                                                                                                                                                                              Current value of the
Do you own or have any legal or equitable interest in any of the following items?                                                                                                             portion you own?
                                                                                                                                                                                              Do not deduct secured claims
                                                                                                                                                                                              or exemptions.

6. Household goods and furnishings
   Examples: Major appliances, furniture, linens, china, kitchenware

                                                                                                                                                                                                  665
        No
   x Yes. Describe. ........              Bedroom Set 50, Couch 0, Recliner Chair 100, Coffee Table 25, Fridge 200, Stove 20, linens 20, kitchenware 40 , Washer                               $___________________
                                          Dryer 50, Freezer 10, portable oven 50, outdoor table 100

7. Electronics
   Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music
             collections; electronic devices including cell phones, cameras, media players, games
        No
   x
        Yes. Describe. .........                                                                                                                                                                   280
                                          2 TVs 55" 40 and 50, Laptop 50, Cell Phone 50, 2 DVD 20, 2 Printers 80                                                                               $___________________

8. Collectibles of value
   Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects;
             stamp, coin, or baseball card collections; other collections, memorabilia, collectibles
      No
   x Yes. Describe. .........                                                                                                                                                                      365
                                          10 Hummels-200, Misc Artwork 15, Coin Collection 150                                                                                                 $___________________

9. Equipment for sports and hobbies
   Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes
             and kayaks; carpentry tools; musical instruments
        No
   x Yes. Describe. .........                                                                                                                                                                      400
                                          Stationary Bike 50 Crafting supplies and machines 350                                                                                                $___________________

10. Firearms
   Examples: Pistols, rifles, shotguns, ammunition, and related equipment
   x No
      Yes. Describe. ..........                                                                                                                                                                $___________________

11. Clothes
   Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories
        No
   x Yes. Describe. ..........                     Everyday clothing and shoes 100                                                                                                               100
                                                                                                                                                                                               $___________________


12. Jewelry
   Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems,
             gold, silver
        No                                                                                                                                                                                         105
   x Yes. Describe. .......... Cameo Ring-50, Costume Jewelry 50, 2 Watches 5                                                                                                                  $___________________

13. Non-farm animals
   Examples: Dogs, cats, birds, horses

        No
   x Yes. Describe. .......... Cat 10                                                                                                                                                           10
                                                                                                                                                                                               $___________________

14. Any other personal and household items you did not already list, including any health aids you did not list

   x No
        Yes. Give specific
                                                                                                                                                                                               $___________________
        information. ..............

15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached                                                                                    1925
                                                                                                                                                                                               $______________________
   for Part 3. Write that number here ....................................................................................................................................................



                                                                                      Schedule A/B: Property                                                                                               page 4


          Case 24-10685-CMA                                         Doc 1               Filed 03/21/24                            Ent. 03/21/24 13:53:30                                     Pg. 14 of 56
Debtor 1            Ó¿®¹«»®·¬»     ß²²» Ú¿´½±óÌ¿§´±®
                    _______________________________________________________                                                                                 Case number (if known)_____________________________________
                      First Name              Middle Name                     Last Name




Part 4:         Describe Your Financial Assets

Do you own or have any legal or equitable interest in any of the following?                                                                                                                                  Current value of the
                                                                                                                                                                                                             portion you own?
                                                                                                                                                                                                             Do not deduct secured claims
                                                                                                                                                                                                             or exemptions.


16. Cash
   Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition

         No
   x Yes ................................................................................................................................................................   Cash: .......................      20
                                                                                                                                                                                                              $__________________



17. Deposits of money
   Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses,
             and other similar institutions. If you have multiple accounts with the same institution, list each.
         No
   x     Yes .....................                                                               Institution name:


                                               17.1. Checking account:                           Key Bank #2021
                                                                                                 _________________________________________________________                                                     36
                                                                                                                                                                                                              $__________________

                                               17.2. Checking account:                           _________________________________________________________                                                    $__________________

                                               17.3. Savings account:                            Key Bank # 1279
                                                                                                 _________________________________________________________                                                     5
                                                                                                                                                                                                              $__________________

                                               17.4. Savings account:                            _________________________________________________________                                                    $__________________

                                               17.5. Certificates of deposit:                    _________________________________________________________                                                    $__________________

                                               17.6. Other financial account:                    _________________________________________________________                                                    $__________________

                                               17.7. Other financial account:                    _________________________________________________________                                                    $__________________

                                               17.8. Other financial account:                    _________________________________________________________                                                    $__________________

                                               17.9. Other financial account:                    _________________________________________________________                                                    $__________________




18. Bonds, mutual funds, or publicly traded stocks
  Examples: Bond funds, investment accounts with brokerage firms, money market accounts
    x No
         Yes .................                 Institution or issuer name:

                                               _________________________________________________________________________________________                                                                      $__________________
                                               _________________________________________________________________________________________                                                                      $__________________
                                               _________________________________________________________________________________________                                                                      $__________________




19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in
   an LLC, partnership, and joint venture
    x No                                      Name of entity:                                                                                                               % of ownership:
         Yes. Give specific                   _____________________________________________________________________                                                         ___________%                      $__________________
         information about
         them.........................        _____________________________________________________________________                                                         ___________%                      $__________________
                                              _____________________________________________________________________                                                         ___________%                      $__________________




                                                                                                Schedule A/B: Property                                                                                                    page 5


           Case 24-10685-CMA                                               Doc 1                  Filed 03/21/24                                Ent. 03/21/24 13:53:30                                      Pg. 15 of 56
Debtor 1        Ó¿®¹«»®·¬»    ß²²» Ú¿´½±óÌ¿§´±®
                _______________________________________________________                                  Case number (if known)_____________________________________
                   First Name           Middle Name            Last Name




20. Government and corporate bonds and other negotiable and non-negotiable instruments
   Negotiable instruments include personal checks, cashiers’ checks, promissory notes, and money orders.
   Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.

   x   No
       Yes. Give specific               Issuer name:
       information about
       them.......................      ______________________________________________________________________________________               $__________________
                                        ______________________________________________________________________________________
                                                                                                                                             $__________________
                                        ______________________________________________________________________________________
                                                                                                                                             $__________________


21. Retirement or pension accounts
   Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans
   x No
       Yes. List each
       account separately.              Type of account:          Institution name:

                                        401(k) or similar plan:   ___________________________________________________________________        $__________________

                                        Pension plan:             ___________________________________________________________________        $__________________

                                        IRA:                      ___________________________________________________________________        $__________________

                                        Retirement account:       ___________________________________________________________________        $__________________

                                        Keogh:                    ___________________________________________________________________        $__________________

                                        Additional account:       ___________________________________________________________________        $__________________

                                        Additional account:       ___________________________________________________________________        $__________________



22. Security deposits and prepayments
   Your share of all unused deposits you have made so that you may continue service or use from a company
   Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications
   companies, or others

   x   No
       Yes ..........................                         Institution name or individual:

                                        Electric:             ______________________________________________________________________         $___________________
                                        Gas:                  ______________________________________________________________________         $___________________
                                        Heating oil:          ______________________________________________________________________
                                                                                                                                             $___________________
                                        Security deposit on rental unit: _____________________________________________________________
                                                                                                                                             $___________________
                                        Prepaid rent:         ______________________________________________________________________
                                                                                                                                             $___________________
                                        Telephone:            ______________________________________________________________________
                                                                                                                                             $___________________
                                        Water:                ______________________________________________________________________
                                                                                                                                             $___________________
                                        Rented furniture:     ______________________________________________________________________
                                                                                                                                             $___________________
                                        Other:                ______________________________________________________________________
                                                                                                                                             $___________________


23. Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)

   x   No
       Yes ..........................   Issuer name and description:
                                         _______________________________________________________________________________________             $__________________
                                        _______________________________________________________________________________________              $__________________
                                        _______________________________________________________________________________________              $__________________


                                                                           Schedule A/B: Property                                                        page 6


        Case 24-10685-CMA                                     Doc 1         Filed 03/21/24          Ent. 03/21/24 13:53:30               Pg. 16 of 56
Debtor 1        Ó¿®¹«»®·¬»    ß²²» Ú¿´½±óÌ¿§´±®
                _______________________________________________________                                       Case number (if known)_____________________________________
                   First Name            Middle Name           Last Name




24. Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
   26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).
   x   No
       Yes ....................................   Institution name and description. Separately file the records of any interests.11 U.S.C. § 521(c):

                                                  ____________________________________________________________________________________                 $_________________
                                                  ____________________________________________________________________________________                 $_________________
                                                  ____________________________________________________________________________________                 $_________________


25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers
   exercisable for your benefit
   x   No
       Yes. Give specific
       information about them. ...                                                                                                                     $__________________


26. Patents, copyrights, trademarks, trade secrets, and other intellectual property
   Examples: Internet domain names, websites, proceeds from royalties and licensing agreements
   x No
       Yes. Give specific
       information about them. ...                                                                                                                     $__________________


27. Licenses, franchises, and other general intangibles
   Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses
   x No
       Yes. Give specific
       information about them. ...                                                                                                                     $__________________


Money or property owed to you?                                                                                                                         Current value of the
                                                                                                                                                       portion you own?
                                                                                                                                                       Do not deduct secured
                                                                                                                                                       claims or exemptions.

28. Tax refunds owed to you
   x No
       Yes. Give specific information                                                                                        Federal:               $_________________
            about them, including whether
            you already filed the returns                                                                                    State:                 $_________________
            and the tax years. .......................
                                                                                                                             Local:                 $_________________


29. Family support
   Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement
   x No
       Yes. Give specific information. .............
                                                                                                                            Alimony:                   $________________
                                                                                                                            Maintenance:               $________________
                                                                                                                            Support:                   $________________
                                                                                                                            Divorce settlement:        $________________
                                                                                                                            Property settlement:       $________________

30. Other amounts someone owes you
   Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers’ compensation,
             Social Security benefits; unpaid loans you made to someone else
   x No
       Yes. Give specific information. ..............
                                                                                                                                                       $______________________



                                                                           Schedule A/B: Property                                                                page 7


        Case 24-10685-CMA                                    Doc 1          Filed 03/21/24            Ent. 03/21/24 13:53:30                       Pg. 17 of 56
Debtor 1          Ó¿®¹«»®·¬»     ß²²» Ú¿´½±óÌ¿§´±®
                  _______________________________________________________                                                                    Case number (if known)_____________________________________
                    First Name           Middle Name                   Last Name




31. Interests in insurance policies
   Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner’s, or renter’s insurance
   x    No
        Yes. Name the insurance company             Company name:                                                                                Beneficiary:                                   Surrender or refund value:
             of each policy and list its value. ...
                                                                     ___________________________________________ ____________________________                                                   $__________________
                                                                     ___________________________________________ ____________________________                                                   $__________________
                                                                     ___________________________________________ ____________________________                                                   $__________________

32. Any interest in property that is due you from someone who has died
   If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive
   property because someone has died.
   x    No
        Yes. Give specific information. .............
                                                                                                                                                                                                $_____________________


33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
   Examples: Accidents, employment disputes, insurance claims, or rights to sue
    x No
        Yes. Describe each claim. ....................
                                                                                                                                                                                                $______________________

34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights
   to set off claims
    x No
        Yes. Describe each claim. ....................
                                                                                                                                                                                                $_____________________




35. Any financial assets you did not already list

        No
        Yes. Give specific information............
                                                                                                                                                                                                $_____________________


36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached
   for Part 4. Write that number here ....................................................................................................................................................
                                                                                                                                                                                                   61
                                                                                                                                                                                                $_____________________




Part 5:          Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

37. Do you own or have any legal or equitable interest in any business-related property?

    x No. Go to Part 6.
        Yes. Go to line 38.
                                                                                                                                                                                              Current value of the
                                                                                                                                                                                              portion you own?
                                                                                                                                                                                              Do not deduct secured claims
                                                                                                                                                                                              or exemptions.

38. Accounts receivable or commissions you already earned

        No
        Yes. Describe .......
                                                                                                                                                                                              $_____________________

39. Office equipment, furnishings, and supplies
    Examples: Business-related computers, software, modems, printers, copiers, fax machines, rugs, telephones, desks, chairs, electronic devices

        No
        Yes. Describe .......                                                                                                                                                                 $_____________________



                                                                                      Schedule A/B: Property                                                                                               page 8


          Case 24-10685-CMA                                         Doc 1               Filed 03/21/24                            Ent. 03/21/24 13:53:30                                     Pg. 18 of 56
Debtor 1          Ó¿®¹«»®·¬»    ß²²» Ú¿´½±óÌ¿§´±®
                  _______________________________________________________                                                                    Case number (if known)_____________________________________
                    First Name            Middle Name                  Last Name




40. Machinery, fixtures, equipment, supplies you use in business, and tools of your trade

        No
        Yes. Describe .......
                                                                                                                                                                                              $_____________________


41. Inventory
        No
        Yes. Describe .......                                                                                                                                                                 $_____________________


42. Interests in partnerships or joint ventures

        No
        Yes. Describe ....... Name of entity:                                                                                                                        % of ownership:
                                         ______________________________________________________________________                                                      ________%                $_____________________
                                         ______________________________________________________________________                                                      ________%                $_____________________
                                         ______________________________________________________________________                                                      ________%                $_____________________


43. Customer lists, mailing lists, or other compilations
        No
        Yes. Do your lists include personally identifiable information (as defined in 11 U.S.C. § 101(41A))?
                      No
                      Yes. Describe. .......
                                                                                                                                                                                               $____________________


44. Any business-related property you did not already list
        No
        Yes. Give specific
                              ______________________________________________________________________________________                                                                           $____________________
        information .........
                                         ______________________________________________________________________________________                                                                $____________________

                                         ______________________________________________________________________________________                                                                $____________________

                                         ______________________________________________________________________________________                                                                $____________________

                                         ______________________________________________________________________________________                                                                $____________________

                                         ______________________________________________________________________________________                                                                $____________________

45. Add the dollar value of all of your entries from Part 5, including any entries for pages you have attached                                                                                    0
                                                                                                                                                                                               $____________________
   for Part 5. Write that number here ....................................................................................................................................................




Part 6:          Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
                 If you own or have an interest in farmland, list it in Part 1.


46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?
   x No. Go to Part 7.
        Yes. Go to line 47.
                                                                                                                                                                                              Current value of the
                                                                                                                                                                                              portion you own?
                                                                                                                                                                                              Do not deduct secured claims
                                                                                                                                                                                              or exemptions.
47. Farm animals
   Examples: Livestock, poultry, farm-raised fish
        No
        Yes ..........................

                                                                                                                                                                                                $___________________



                                                                                      Schedule A/B: Property                                                                                               page 9


          Case 24-10685-CMA                                         Doc 1               Filed 03/21/24                            Ent. 03/21/24 13:53:30                                     Pg. 19 of 56
 Debtor 1            Ó¿®¹«»®·¬»     ß²²» Ú¿´½±óÌ¿§´±®
                     _______________________________________________________                                                                        Case number (if known)_____________________________________
                       First Name            Middle Name                   Last Name




48. Crops—either growing or harvested

           No
           Yes. Give specific
           information. ............                                                                                                                                                                     $___________________

49. Farm and fishing equipment, implements, machinery, fixtures, and tools of trade
           No
           Yes ..........................
                                                                                                                                                                                                         $___________________

50. Farm and fishing supplies, chemicals, and feed

           No
           Yes ..........................
                                                                                                                                                                                                         $___________________

51. Any farm- and commercial fishing-related property you did not already list
           No
           Yes. Give specific
           information. ............                                                                                                                                                                     $___________________

52. Add the dollar value of all of your entries from Part 6, including any entries for pages you have attached                                                                                             0
                                                                                                                                                                                                         $___________________
     for Part 6. Write that number here ....................................................................................................................................................



Part 7:            Describe All Property You Own or Have an Interest in That You Did Not List Above
                                                                                                                                                                     291,046
53. Do you have other property of any kind you did not already list?
    Examples: Season tickets, country club membership

     x No
                                                                                                                                                                                                          $________________
           Yes. Give specific
           information. ............                                                                                                                                                                       $________________
                                                                                                                                                                                                           $________________


54. Add the dollar value of all of your entries from Part 7. Write that number here .................................................................                                                          0
                                                                                                                                                                                                           $________________




Part 8:            List the Totals of Each Part of this Form


55. Part 1: Total real estate, line 2 ..............................................................................................................................................................
                                                                                                                                                                                                           580,800.00
                                                                                                                                                                                                         $________________

                                                                                                                       2000
56. Part 2: Total vehicles, line 5                                                                                  $________________

57. Part 3: Total personal and household items, line 15
                                                                                                                         1925
                                                                                                                    $________________

58. Part 4: Total financial assets, line 36
                                                                                                                         61
                                                                                                                    $________________

59. Part 5: Total business-related property, line 45
                                                                                                                        0
                                                                                                                    $________________

60. Part 6: Total farm- and fishing-related property, line 52
                                                                                                                            0
                                                                                                                    $________________

61. Part 7: Total other property not listed, line 54
                                                                                                                      0
                                                                                                                + $________________
                                                                                                                        3986                                                                                3986
62. Total personal property. Add lines 56 through 61. ....................                                          $________________ Copy personal property total                                      + $_________________


63. Total of all property on Schedule A/B. Add line 55 + line 62. .........................................................................................
                                                                                                                                                                                                            584786.00
                                                                                                                                                                                                         $_________________



                                                                                           Schedule A/B: Property                                                                                                 page 10


            Case 24-10685-CMA                                           Doc 1                 Filed 03/21/24                            Ent. 03/21/24 13:53:30                                         Pg. 20 of 56
 Fill in this information to identify your case:

 Debtor 1           Ó¿®¹«»®·¬» ß²²» Ú¿´½±óÌ¿§´±®
                   __________________________________________________________________
                     First Name               Middle Name               Last Name

 Debtor 2            ________________________________________________________________
 (Spouse, if filing) First Name               Middle Name               Last Name


 United States Bankruptcy Court for the: É»-¬»®² Ü·-¬®·½¬
                                         __________       ±º É¿-¸·²¹¬±²
                                                      District of __________

 Case number         ___________________________________________                                                                             Check if this is an
  (If known)
                                                                                                                                             amended filing


                                  106C
Schedule C: The Property You Claim as Exempt                                                                                                ìñîî

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information.
Using the property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more
space is needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write
your name and case number (if known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount
of any applicable statutory limit. Some exemptions—such as those for health aids, rights to receive certain benefits, and tax-exempt
retirement funds—may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that
limits the exemption to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption
would be limited to the applicable statutory amount.


 Part 1:         Identify the Property You Claim as Exempt


 1. Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.
       x You are claiming state and federal nonbankruptcy exemptions. 11 U.S.C. § 522(b)(3)
           You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)


 2. For any property you list on Schedule A/B that you claim as exempt, fill in the information below.


       Brief description of the property and line on        Current value of the    Amount of the exemption you claim        Specific laws that allow exemption
       Schedule A/B that lists this property                portion you own
                                                            Copy the value from     Check only one box for each exemption.
                                                            Schedule A/B

                                  House and Lot               580,800.00                580,800.00                            RCW 6.13.030
                                                                                    x $ ____________
      Brief                                                                                                                  ____________________________
                             _________________________      $________________
      description:                                                                                                           ____________________________
                                                                                       100% of fair market value, up to      ____________________________
      Line from
                    1.1                                                                any applicable statutory limit        ____________________________
      Schedule A/B: ______

      Brief                  2001 Toyota Prius                 1200.00                   1200.00                              RCW § 6.15.010(1)(d)(iii)(C)(iv)
                                                                                                                             ____________________________
      description:
                             _________________________      $________________       x $ ____________                         ____________________________
      Line from      3.1
                    ______
                                                                                       100% of fair market value, up to      ____________________________
                                                                                       any applicable statutory limit        ____________________________
      Schedule A/B:
                                                                                                                              RCW § 6.15.010(1)(d)(iii)
      Brief                  2010 Ford Fusion                  1600.00                     1600.00                           ____________________________
                             _________________________      $________________          $ ____________
      description:                                                                                                           ____________________________
                                                                                       100% of fair market value, up to      ____________________________
      Line from     3.2
      Schedule A/B: ______                                                             any applicable statutory limit        ____________________________


     Are you claiming a homestead exemption of more than üïèçôðëðá
                                                         $1     ?
     (Subject to adjustment on ìñðïñîë
                               4/01/îë and every 3 years after that for cases filed on or after the date of adjustment.)
           No
     x Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
       x No
                  Yes



Official Form 106C                                          Schedule C: The Property You Claim as Exempt                                                      2
                                                                                                                                                   page 1 of __


        Case 24-10685-CMA                          Doc 1         Filed 03/21/24            Ent. 03/21/24 13:53:30                   Pg. 21 of 56
Debtor 1      Ó¿®¹«»®·¬» ß²²» Ú¿´½±óÌ¿§´±®
             _______________________________________________________                           Case number (if known)_____________________________________
             First Name            Middle Name   Last Name




 Part 2:    Additional Page

      Brief description of the property and line         Current value of the   Amount of the exemption you claim       Specific laws that allow exemption
      on Schedule A/B that lists this property           portion you own
                                                         Copy the value from    Check only one box for each exemption
                                                         Schedule A/B
            Household Goods, Electronics, Clothing
     Brief
                          _________________________
                                                             1660                     1660
                                                                                 x $ ____________
                                                                                                                        ____________________________
     description:                                        $________________                                              ____________________________
                          6, 7, 8, 9, 11,                                          100% of fair market value, up to      RCW § 6.15.010(1)(d)(i)
                                                                                                                        ____________________________
     Line from     ______
                                                                                   any applicable statutory limit       ____________________________
     Schedule A/B:
                           Cat                                10
     Brief
                          _________________________      $________________           10
                                                                                x $ ____________
                                                                                                                        ____________________________
     description:                                                                                                        RCW § 6.15.010(1)(d)(i)
                                                                                                                        ____________________________
     Line from     13                                                              100% of fair market value, up to
     Schedule A/B: ______                                                          any applicable statutory limit


     Brief                   Jewelry                          105                    105                                ____________________________
                          _________________________      $________________      x $ ____________                          RCW § 6.15.010(1)(a)
     description:                                                                                                       ____________________________
     Line from      12                                                             100% of fair market value, up to     ____________________________
                   ______                                                          any applicable statutory limit       ____________________________
     Schedule A/B:

     Brief                  Coins, Cash, and Accounts          211                   211                                ___________________
                                                                                                                         RCW § 6.15.010(1)(d) (iii)(C___
                          _________________________      $________________       x $ ____________                                                     )
     description:                                                                                                       ___________________          ___
     Line from     8, 16, 17
                    ______
                                                                                   100% of fair market value, up to     ____________________________
                                                                                   any applicable statutory limit       ____________________________
     Schedule A/B:
     Brief                                                                                                              ____________________________
                          _________________________      $________________         $ ____________
     description:                                                                                                       ____________________________
     Line from                                                                     100% of fair market value, up to     ____________________________
                   ______                                                          any applicable statutory limit       ____________________________
     Schedule A/B:

     Brief                                                                                                              ____________________________
                          _________________________      $________________         $ ____________
     description:                                                                                                       ____________________________
     Line from                                                                     100% of fair market value, up to     ____________________________
                   ______                                                          any applicable statutory limit       ____________________________
     Schedule A/B:

     Brief                                                                                                              ____________________________
                          _________________________      $________________         $ ____________
     description:                                                                                                       ____________________________
     Line from                                                                     100% of fair market value, up to     ____________________________
                   ______
                                                                                   any applicable statutory limit       ____________________________
     Schedule A/B:
     Brief                                                                                                              ____________________________
                          _________________________      $________________         $ ____________
     description:                                                                                                       ____________________________
     Line from                                                                     100% of fair market value, up to     ____________________________
                                                                                                                        ____________________________
     Schedule A/B: ______                                                          any applicable statutory limit


     Brief                                                                                                              ____________________________
                          _________________________      $________________         $ ____________
     description:                                                                                                       ____________________________
                                                                                   100% of fair market value, up to     ____________________________
     Line from     ______                                                          any applicable statutory limit       ____________________________
     Schedule A/B:

     Brief                                                                                                              ____________________________
                          _________________________      $________________         $ ____________
     description:                                                                                                       ____________________________
                                                                                   100% of fair market value, up to     ____________________________
     Line from     ______
                                                                                   any applicable statutory limit       ____________________________
     Schedule A/B:
     Brief                                                                                                              ____________________________
                          _________________________      $________________         $ ____________
     description:                                                                                                       ____________________________
                                                                                   100% of fair market value, up to     ____________________________
     Line from
                                                                                                                        ____________________________
     Schedule A/B: ______                                                          any applicable statutory limit


     Brief                                                                                                              ____________________________
                          _________________________      $________________         $ ____________
     description:                                                                                                       ____________________________
     Line from                                                                     100% of fair market value, up to     ____________________________
                   ______                                                          any applicable statutory limit       ____________________________
     Schedule A/B:


                                                        Schedule C: The Property You Claim as Exempt                                      page ___  2
                                                                                                                                               î of __


       Case 24-10685-CMA                         Doc 1        Filed 03/21/24           Ent. 03/21/24 13:53:30                  Pg. 22 of 56
Fill in this information to identify your case:

 Debtor 1           Ó¿®¹«»®·¬» ß²²» Ú¿´½±óÌ¿§´±®
                   __________________________________________________________________
                     First Name                   Middle Name                  Last Name

 Debtor 2            ________________________________________________________________                             Type text here
 (Spouse, if filing) First Name                   Middle Name                  Last Name


 United States Bankruptcy Court for the: É»-¬»®² Ü·-¬®·½¬
                                         __________       ±º É¿-¸·²¹¬±²
                                                     District of __________

 Case number         ___________________________________________
 (If known)                                                                                                                                                  Check if this is an
                                                                                                                                                             amended filing


          106D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                                 12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any
additional pages, write your name and case number (if known).

1. Do any creditors have claims secured by your property?
             No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
      x Yes. Fill in all of the information below.

Part 1:          List All Secured Claims
                                                                                                                           Column A               Column B              Column C
2. List all secured claims. If a creditor has more than one secured claim, list the creditor separately                    Amount of claim        Value of collateral   Unsecured
      for each claim. If more than one creditor has a particular claim, list the other creditors in Part 2.                Do not deduct the      that supports this    portion
      As much as possible, list the claims in alphabetical order according to the creditor’s name.                         value of collateral.   claim                 If any

2.1
      Key Bank                                             Describe the property that secures the claim:                     291,046.00
                                                                                                                           $_________________  580,800.00 $____________
                                                                                                                                              $________________ N/A
      ______________________________________
                                                          Purchased July 1968
      Creditor’s Name
       Client Services
      ______________________________________
      Number            Street
                                                           House and Lot at 1321 N 122nd Seattle, WA
      P.O. Box 5788                                        As of the date you file, the claim is: Check all that apply.
      OH-01-51-05DF
      ______________________________________
      Cleveland, OH 44101                                       Contingent
      ______________________________________                    Unliquidated
      City                        State   ZIP Code
                                                                Disputed
  Who owes the debt? Check one.                            Nature of lien. Check all that apply.
  x     Debtor 1 only                                       x   An agreement you made (such as mortgage or secured
        Debtor 2 only                                           car loan)
        Debtor 1 and Debtor 2 only                              Statutory lien (such as tax lien, mechanic’s lien)
        At least one of the debtors and another                 Judgment lien from a lawsuit
                                                                Other (including a right to offset) ____________________
     Check if this claim relates to a
     community debt
                           2021
  Date debt was incurred ____________
                                                                                                   6 9 5 2
                                                           Last 4 digits of account number ___ ___ ___ ___
2.2
                                                           Describe the property that secures the claim:                   $_________________ $________________ $____________
      ______________________________________
      Creditor’s Name

      ______________________________________
      Number            Street

                                                           As of the date you file, the claim is: Check all that apply.
      ______________________________________
                                                                Contingent
      ______________________________________                    Unliquidated
      City                        State   ZIP Code              Disputed
  Who owes the debt? Check one.                            Nature of lien. Check all that apply.
        Debtor 1 only                                           An agreement you made (such as mortgage or secured
        Debtor 2 only                                           car loan)
        Debtor 1 and Debtor 2 only                              Statutory lien (such as tax lien, mechanic’s lien)
        At least one of the debtors and another                 Judgment lien from a lawsuit
                                                                Other (including a right to offset) ____________________
     Check if this claim relates to a
     community debt
  Date debt was incurred ____________                      Last 4 digits of account number ___ ___ ___ ___
      Add the dollar value of your entries in Column A on this page. Write that number here:                                 291,046.00
                                                                                                                           $________________


   fficial Form 106D                               Schedule D: Creditors Who Have Claims Secured by Property                                                             1
                                                                                                                                                               page 1 of ___


              Case 24-10685-CMA                          Doc 1          Filed 03/21/24                Ent. 03/21/24 13:53:30                         Pg. 23 of 56
  Fill in this information to identify your case:

      Debtor 1           Ó¿®¹«»®·¬» ß²²» Ú¿´½±óÌ¿§´±®
                        __________________________________________________________________
                          First Name                   Middle Name              Last Name

      Debtor 2            ________________________________________________________________
      (Spouse, if filing) First Name                   Middle Name              Last Name


                                              É»-¬»®² Ü·-¬®·½¬
      United States Bankruptcy Court for the: __________       ±º É¿-¸·²¹¬±²
                                                          District of __________
                                                                                                                                                           Check if this is an
      Case number         ___________________________________________
      (If known)                                                                                                                                           amended filing


           106E/F
 Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                   12/15

 Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims.
 List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule
 A/B: Property (Official Form 106A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G). Do not include any
 creditors with partially secured claims that are listed in Schedule D: Creditors Who Have Claims Secured by Property.330.00
                                                                                                                           If more space is
 needed, copy the Part you need, fill it out, number the entries in the boxes on the left. Attach the Continuation Page to this page. On the top of
 any additional pages, write your name and case number (if known).

 Part 1:               List All of Your PRIORITY Unsecured Claims

 1. Do any creditors have priority unsecured claims against you?
              No. Go to Part 2.
         x Yes.
 2.     List all of your priority unsecured claims. If a creditor has more than one priority unsecured claim, list the creditor separately for each claim. For
        each claim listed, identify what type of claim it is. If a claim has both priority and nonpriority amounts, list that claim here and show both priority and
        nonpriority amounts. As much as possible, list the claims in alphabetical order according to the creditor’s name. If you have more than two priority
        unsecured claims, fill out the Continuation Page of Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.
        (For an explanation of each type of claim, see the instructions for this form in the instruction booklet
                                                                                                                                      Total Claim     Priority     Nonpriority
                                                                                                                                                      amount       amount
2.1
           IRS
           ____________________________________________                Last 4 digits of account number ___ ___ ___ ___
                                                                                                                                    169
                                                                                                                                  $_____________   169
                                                                                                                                                 $___________   0
                                                                                                                                                              $____________
           Priority Creditor’s Name
            PO box 21126
           ____________________________________________                When was the debt incurred?           2023
                                                                                                            ____________
           Number            Street
           ____________________________________________
            Philadelphia, PA 19114                                     As of the date you file, the claim is: Check all that apply.
           ____________________________________________                    Contingent
           City                                State    ZIP Code
                                                                           Unliquidated
           Who incurred the debt? Check one.
                                                                           Disputed
           x Debtor 1 only
                  Debtor 2 only                                        Type of PRIORITY unsecured claim:
                  Debtor 1 and Debtor 2 only
                                                                           Domestic support obligations
                  At least one of the debtors and another              x   Taxes and certain other debts you owe the government
                  Check if this claim is for a community debt              Claims for death or personal injury while you were
           Is the claim subject to offset?                                 intoxicated
                  No                                                       Other. Specify _________________________________
                  Yes
2.2
           ____________________________________________                Last 4 digits of account number ___ ___ ___ ___                $_____________ $___________ $____________
           Priority Creditor’s Name
                                                                       When was the debt incurred?          ____________
           ____________________________________________
           Number            Street
           ____________________________________________                As of the date you file, the claim is: Check all that apply.
                                                                           Contingent
           ____________________________________________
           City                                State    ZIP Code           Unliquidated
           Who incurred the debt? Check one.                               Disputed
                  Debtor 1 only
                                                                       Type of PRIORITY unsecured claim:
                  Debtor 2 only
                                                                           Domestic support obligations
                  Debtor 1 and Debtor 2 only
                                                                           Taxes and certain other debts you owe the government
                  At least one of the debtors and another
                                                                           Claims for death or personal injury while you were
                  Check if this claim is for a community debt              intoxicated
           Is the claim subject to offset?                                 Other. Specify _________________________________
                  No
                  Yes


 Official Form 106E/F                                           Schedule E/F: Creditors Who Have Unsecured Claims                                            page 1 of 2
                                                                                                                                                                       ___


              Case 24-10685-CMA                             Doc 1       Filed 03/21/24                Ent. 03/21/24 13:53:30                        Pg. 24 of 56
 Debtor 1           Ó¿®¹«»®·¬»     ß²²» Ú¿´½±óÌ¿§´±®
                    _______________________________________________________                            Case number (if known)_____________________________________
                    First Name       Middle Name           Last Name


 Part 2:           List All of Your NONPRIORITY Unsecured Claims

 3. Do any creditors have nonpriority unsecured claims against you?
            No. You have nothing to report in this part. Submit this form to the court with your other schedules.
      x Yes

 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
      nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
      included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
      claims fill out the Continuation Page of Part 2.

            Patenaude and Felix APC                                                                                                                          Total claim
4.1                                                                                                                      3917
       _____________________________________________________________
       Nonpriority Creditor’s Name
                                                                                   Last 4 digits of account number ___ ___ ___ ___
                                                                                                                                                             5702
                                                                                                                                                           $__________________
                                                                                   When was the debt incurred?           ____________
         9619 Chesapeake Drive STE 300
       _____________________________________________________________
       Number            Street
            San Diego, CA 92123
       _____________________________________________________________
       City                                             State          ZIP Code    As of the date you file, the claim is: Check all that apply.

                                                                                       Contingent
       Who incurred the debt? Check one.                                               Unliquidated
        x Debtor 1 only                                                                Disputed
              Debtor 2 only
              Debtor 1 and Debtor 2 only                                           Type of NONPRIORITY unsecured claim:
              At least one of the debtors and another                                  Student loans

              Check if this claim is for a community debt                              Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
       Is the claim subject to offset?                                                 Debts to pension or profit-sharing plans, and other similar debts
              No                                                                   x                   Collection for Target
                                                                                       Other. Specify ______________________________________
              Yes

4.2    Target                                                                                                      9370
                                                                                   Last 4 digits of account number ___ ___ ___ ___                           Notice
                                                                                                                                                           $__________________
       _____________________________________________________________
       Nonpriority Creditor’s Name                                                 When was the debt incurred?           ____________
        3901 W 53rd ST
       _____________________________________________________________
       Number            Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       Sioux Falls, SD 57106-4216 #9370
       _____________________________________________________________
       City                                             State          ZIP Code
                                                                                       Contingent
       Who incurred the debt? Check one.                                               Unliquidated
       x Debtor 1 only                                                                 Disputed

              Debtor 2 only
                                                                                   Type of NONPRIORITY unsecured claim:
              Debtor 1 and Debtor 2 only
              At least one of the debtors and another                                  Student loans
                                                                                       Obligations arising out of a separation agreement or divorce
              Check if this claim is for a community debt                              that you did not report as priority claims
       Is the claim subject to offset?                                                 Debts to pension or profit-sharing plans, and other similar debts
                                                                                   x                   Consumer Credit
                                                                                       Other. Specify ______________________________________
              No
              Yes

4.3
       Sound Credit Union                                                                                                 5797
       _____________________________________________________________               Last 4 digits of account number ___ ___ ___ ___                           10528
                                                                                                                                                           $_________________
       Nonpriority Creditor’s Name
        PO Box 1595                                                                When was the debt incurred?           ____________
       _____________________________________________________________
       Number            Street

       Tacoma, WA 98401
       _____________________________________________________________               As of the date you file, the claim is: Check all that apply.
       City                                             State          ZIP Code
                                                                                       Contingent
       Who incurred the debt? Check one.
                                                                                       Unliquidated
        x Debtor 1 only
                                                                                       Disputed
              Debtor 2 only
              Debtor 1 and Debtor 2 only
                                                                                   Type of NONPRIORITY unsecured claim:
              At least one of the debtors and another
                                                                                       Student loans
              Check if this claim is for a community debt                              Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
       Is the claim subject to offset?
                                                                                       Debts to pension or profit-sharing plans, and other similar debts
              No
                                                                                   x                   Revolving Account
                                                                                       Other. Specify ______________________________________
              Yes




                                                            Schedule E/F: Creditors Who Have Unsecured Claims                                                           2 of ___
                                                                                                                                                                  page __    7

         Case 24-10685-CMA                              Doc 1            Filed 03/21/24       Ent. 03/21/24 13:53:30                         Pg. 25 of 56
Debtor 1           Ó¿®¹«»®·¬»     ß²²» Ú¿´½±óÌ¿§´±®
                   _______________________________________________________                                 Case number (if known)_____________________________________
                   First Name       Middle Name           Last Name



 Part 2:          Your NONPRIORITY Unsecured Claims                          Continuation Page


 After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.                                                         Total claim


4.4     Kohl's                                                                                                                  7287
      _____________________________________________________________
                                                                                        Last 4 digits of account number ___ ___ ___ ___                          177
                                                                                                                                                                $____________
      Nonpriority Creditor’s Name
                                                                                        When was the debt incurred?           ____________
        PO Box 3042
      _____________________________________________________________
      Number            Street
                                                                                        As of the date you file, the claim is: Check all that apply.
        Milwaukee, WI 53201-3043
      _____________________________________________________________
      City                                             State          ZIP Code              Contingent
                                                                                            Unliquidated
      Who incurred the debt? Check one.                                                     Disputed
      x Debtor 1 only
             Debtor 2 only                                                              Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only
                                                                                            Student loans
             At least one of the debtors and another
                                                                                            Obligations arising out of a separation agreement or divorce that
                                                                                            you did not report as priority claims
             Check if this claim is for a community debt
                                                                                            Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                   x                  Consumer Credit
                                                                                            Other. Specify________________________________
             No
             Yes


4.5                                                                                                                            1235
                                                                                        Last 4 digits of account number ___ ___ ___ ___                          5971
      Sears
      _____________________________________________________________
                                                                                                                                                                $____________
      Nonpriority Creditor’s Name
      PO Box 78051
      _____________________________________________________________
                                                                                        When was the debt incurred?           ____________

      Number            Street
      Phoenix, AZ 85062-8051                                                            As of the date you file, the claim is: Check all that apply.
      _____________________________________________________________
      City                                             State          ZIP Code              Contingent
                                                                                            Unliquidated
      Who incurred the debt? Check one.                                                     Disputed
       x Debtor 1 only
             Debtor 2 only                                                              Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only
                                                                                            Student loans
             At least one of the debtors and another
                                                                                            Obligations arising out of a separation agreement or divorce that
                                                                                            you did not report as priority claims
             Check if this claim is for a community debt
                                                                                            Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                   x                  Consumer Credit
                                                                                            Other. Specify________________________________
             No
             Yes

4.6                                                                                                                                                              552
             Home Depot                                                                                                        0320                             $____________
                                                                                        Last 4 digits of account number ___ ___ ___ ___
      _____________________________________________________________
      Nonpriority Creditor’s Name
             PO Box 78011                                                               When was the debt incurred?           ____________
      _____________________________________________________________
      Number            Street
             Phoenix, AZ 85062                                                          As of the date you file, the claim is: Check all that apply.
      _____________________________________________________________
      City                                             State          ZIP Code              Contingent
                                                                                            Unliquidated
      Who incurred the debt? Check one.                                                     Disputed
      x Debtor 1 only
             Debtor 2 only                                                              Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only
                                                                                            Student loans
             At least one of the debtors and another
                                                                                            Obligations arising out of a separation agreement or divorce that
                                                                                            you did not report as priority claims
             Check if this claim is for a community debt
                                                                                            Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                   x                  Consumer Credit
                                                                                            Other. Specify________________________________
             No
             Yes




                                                                                                                                                                      3       7
                                                           Schedule E/F: Creditors Who Have Unsecured Claims                                                    page __ of ___


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Debtor 1           Ó¿®¹«»®·¬»     ß²²» Ú¿´½±óÌ¿§´±®
                   _______________________________________________________                                 Case number (if known)_____________________________________
                   First Name       Middle Name           Last Name



 Part 2:          Your NONPRIORITY Unsecured Claims                          Continuation Page


 After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.                                                         Total claim


4.7          HSN Card/Syncb                                                                                                   2197
      _____________________________________________________________
                                                                                        Last 4 digits of account number ___ ___ ___ ___                          6584
                                                                                                                                                                $____________
      Nonpriority Creditor’s Name
                                                                                        When was the debt incurred?           ____________
             PO Box 669803
      _____________________________________________________________
      Number            Street
                                                                                        As of the date you file, the claim is: Check all that apply.
         Dallas, TX 75266
      _____________________________________________________________
      City                                             State          ZIP Code              Contingent
                                                                                            Unliquidated
      Who incurred the debt? Check one.                                                     Disputed
      x Debtor 1 only
             Debtor 2 only                                                              Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only
                                                                                            Student loans
             At least one of the debtors and another
                                                                                            Obligations arising out of a separation agreement or divorce that
                                                                                            you did not report as priority claims
             Check if this claim is for a community debt
                                                                                            Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                   x                  Revolving Account
                                                                                            Other. Specify________________________________
             No
             Yes


4.8
           Qcard/Synchrony Bank                                                                                          0361
                                                                                        Last 4 digits of account number ___ ___ ___ ___                          3914
                                                                                                                                                                $____________
      _____________________________________________________________
      Nonpriority Creditor’s Name
           PO Box 669803                                                                When was the debt incurred?           ____________
      _____________________________________________________________
      Number            Street
                                                                                        As of the date you file, the claim is: Check all that apply.
         Dallas, TX 75266
      _____________________________________________________________
      City                                             State          ZIP Code              Contingent
                                                                                            Unliquidated
      Who incurred the debt? Check one.                                                     Disputed
      x Debtor 1 only
             Debtor 2 only                                                              Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only
                                                                                            Student loans
             At least one of the debtors and another
                                                                                            Obligations arising out of a separation agreement or divorce that
                                                                                            you did not report as priority claims
             Check if this claim is for a community debt
                                                                                            Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                   x                  Revolving Account
                                                                                            Other. Specify________________________________
             No
             Yes


4.9        Lowes/Synchrony Bank                                                                                          1266                                    793
                                                                                                                                                                $____________
                                                                                        Last 4 digits of account number ___ ___ ___ ___
      _____________________________________________________________
      Nonpriority Creditor’s Name
           PO Box 669807                                                                When was the debt incurred?           ____________
      _____________________________________________________________
      Number            Street
           Dallas TX 75266                                                              As of the date you file, the claim is: Check all that apply.
      _____________________________________________________________
      City                                             State          ZIP Code              Contingent
                                                                                            Unliquidated
      Who incurred the debt? Check one.                                                     Disputed
      x Debtor 1 only
             Debtor 2 only                                                              Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only
                                                                                            Student loans
             At least one of the debtors and another
                                                                                            Obligations arising out of a separation agreement or divorce that
                                                                                            you did not report as priority claims
             Check if this claim is for a community debt
                                                                                            Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                   x   Other. Specify________________________________
             No
             Yes




                                                                                                                                                                     4        7
                                                           Schedule E/F: Creditors Who Have Unsecured Claims                                                    page __ of ___


        Case 24-10685-CMA                              Doc 1            Filed 03/21/24           Ent. 03/21/24 13:53:30                        Pg. 27 of 56
Debtor 1           Ó¿®¹«»®·¬»     ß²²» Ú¿´½±óÌ¿§´±®
                   _______________________________________________________                                 Case number (if known)_____________________________________
                   First Name       Middle Name           Last Name



 Part 2:          Your NONPRIORITY Unsecured Claims                          Continuation Page


 After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.                                                         Total claim


5.0     JC Penney/Synchrony Bank                                                                                               8975
      _____________________________________________________________
                                                                                        Last 4 digits of account number ___ ___ ___ ___                          98
                                                                                                                                                                $____________
      Nonpriority Creditor’s Name
                                                                                        When was the debt incurred?           ____________
        PO Box 965009
      _____________________________________________________________
      Number            Street
                                                                                        As of the date you file, the claim is: Check all that apply.
        Orlando, FL 32896-5009
      _____________________________________________________________
      City                                             State          ZIP Code              Contingent
                                                                                            Unliquidated
      Who incurred the debt? Check one.                                                     Disputed
      x Debtor 1 only
             Debtor 2 only                                                              Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only
                                                                                            Student loans
             At least one of the debtors and another
                                                                                            Obligations arising out of a separation agreement or divorce that
                                                                                            you did not report as priority claims
             Check if this claim is for a community debt
                                                                                            Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                   x                  Consumer Credit
                                                                                            Other. Specify________________________________
             No
             Yes



5.1                                                                                                                           1049
      Amazon Prime                                                                      Last 4 digits of account number ___ ___ ___ ___                          462
                                                                                                                                                                $____________
      _____________________________________________________________
      Nonpriority Creditor’s Name
      410 Terry Ave N,                                                                  When was the debt incurred?           ____________
      _____________________________________________________________
      Number            Street
                                                                                        As of the date you file, the claim is: Check all that apply.
      Seattle, WA 98109
      _____________________________________________________________
      City                                             State          ZIP Code              Contingent
                                                                                            Unliquidated
      Who incurred the debt? Check one.                                                     Disputed
      x Debtor 1 only
             Debtor 2 only                                                              Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only
                                                                                            Student loans
             At least one of the debtors and another
                                                                                            Obligations arising out of a separation agreement or divorce that
                                                                                            you did not report as priority claims
             Check if this claim is for a community debt
                                                                                            Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                   x                  Consumer Credit
                                                                                            Other. Specify________________________________
             No
             Yes


5.2     Affirm/Celtic Bank                                                                                                    ISSS                               334
                                                                                                                                                                $____________
                                                                                        Last 4 digits of account number ___ ___ ___ ___
      _____________________________________________________________
      Nonpriority Creditor’s Name
        268 South ST #300                                                               When was the debt incurred?           ____________
      _____________________________________________________________
      Number            Street
                                                                                        As of the date you file, the claim is: Check all that apply.
        Salt Lake City, UT 84111
      _____________________________________________________________
      City                                             State          ZIP Code              Contingent
                                                                                            Unliquidated
      Who incurred the debt? Check one.                                                     Disputed
      x Debtor 1 only
             Debtor 2 only                                                              Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only
                                                                                            Student loans
             At least one of the debtors and another
                                                                                            Obligations arising out of a separation agreement or divorce that
                                                                                            you did not report as priority claims
             Check if this claim is for a community debt
                                                                                            Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                   x                  Personal Credit
                                                                                            Other. Specify________________________________
             No
             Yes




                                                                                                                                                                     5        7
                                                           Schedule E/F: Creditors Who Have Unsecured Claims                                                    page __ of ___


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Debtor 1           Ó¿®¹«»®·¬»     ß²²» Ú¿´½±óÌ¿§´±®
                   _______________________________________________________                                 Case number (if known)_____________________________________
                   First Name       Middle Name           Last Name



 Part 2:          Your NONPRIORITY Unsecured Claims                          Continuation Page


 After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.                                                         Total claim


5.3                   Best Dentistry
      _____________________________________________________________
                                                                                        Last 4 digits of account number ___ ___ ___ ___                          3250
                                                                                                                                                                $____________
      Nonpriority Creditor’s Name
                      9776 Holman Rd NW #110,
      _____________________________________________________________
                                                                                        When was the debt incurred?           ____________

      Number            Street
                                                                                        As of the date you file, the claim is: Check all that apply.
                      Seattle, WA 98117
      _____________________________________________________________
                                                                                        x
      City                                             State          ZIP Code              Contingent
                                                                                            Unliquidated
      Who incurred the debt? Check one.                                                     Disputed
      x Debtor 1 only
             Debtor 2 only                                                              Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only
                                                                                            Student loans
             At least one of the debtors and another
                                                                                            Obligations arising out of a separation agreement or divorce that
                                                                                            you did not report as priority claims
             Check if this claim is for a community debt
                                                                                            Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                   x                  Dentist billing contingent on insurance coverage
                                                                                            Other. Specify________________________________
             No
             Yes



           Blank                                                                        Last 4 digits of account number ___ ___ ___ ___                         $____________
      _____________________________________________________________
      Nonpriority Creditor’s Name
                                                                                        When was the debt incurred?           ____________
      _____________________________________________________________
      Number            Street
                                                                                        As of the date you file, the claim is: Check all that apply.
      _____________________________________________________________
      City                                             State          ZIP Code              Contingent
                                                                                            Unliquidated
      Who incurred the debt? Check one.                                                     Disputed
             Debtor 1 only
             Debtor 2 only                                                              Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only
                                                                                            Student loans
             At least one of the debtors and another
                                                                                            Obligations arising out of a separation agreement or divorce that
                                                                                            you did not report as priority claims
             Check if this claim is for a community debt
                                                                                            Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                       Other. Specify________________________________
             No
             Yes


                                                                                                                                                                $____________
       Blank                                                                            Last 4 digits of account number ___ ___ ___ ___
      _____________________________________________________________
      Nonpriority Creditor’s Name
                                                                                        When was the debt incurred?           ____________
      _____________________________________________________________
      Number            Street
                                                                                        As of the date you file, the claim is: Check all that apply.
      _____________________________________________________________
      City                                             State          ZIP Code              Contingent
                                                                                            Unliquidated
      Who incurred the debt? Check one.                                                     Disputed
             Debtor 1 only
             Debtor 2 only                                                              Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only
                                                                                            Student loans
             At least one of the debtors and another
                                                                                            Obligations arising out of a separation agreement or divorce that
                                                                                            you did not report as priority claims
             Check if this claim is for a community debt
                                                                                            Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                       Other. Specify________________________________
             No
             Yes




                                                                                                                                                                     6        7
                                                           Schedule E/F: Creditors Who Have Unsecured Claims                                                    page __ of ___


        Case 24-10685-CMA                              Doc 1            Filed 03/21/24           Ent. 03/21/24 13:53:30                        Pg. 29 of 56
Debtor 1    Ó¿®¹«»®·¬»     ß²²» Ú¿´½±óÌ¿§´±®
            _______________________________________________________                           Case number (if known)_____________________________________
               First Name    Middle Name         Last Name



Part 4:    Add the Amounts for Each Type of Unsecured Claim


6. Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. § 159.
    Add the amounts for each type of unsecured claim.




                                                                                        Total claim



Total claims
                6a. Domestic support obligations                               6a.       0
                                                                                        $_________________________
from Part 1
                6b. Taxes and certain other debts you owe the
                    government                                                 6b.       169.00
                                                                                        $_________________________

                6c. Claims for death or personal injury while you were
                    intoxicated                                                6c.       0
                                                                                        $_________________________

                6d. Other. Add all other priority unsecured claims.
                    Write that amount here.                                    6d.        0
                                                                                      + $_________________________

                6e. Total. Add lines 6a through 6d.                            6e.        169.00
                                                                                        $_________________________



                                                                                        Total claim


Total claims
                6f. Student loans                                              6f.        0
                                                                                         $_________________________
from Part 2
                6g. Obligations arising out of a separation agreement
                    or divorce that you did not report as priority
                    claims                                                     6g.
                                                                                          0
                                                                                         $_________________________

                6h. Debts to pension or profit-sharing plans, and other
                    similar debts                                              6h.       0
                                                                                        $_________________________

                6i. Other. Add all other nonpriority unsecured claims.                     38,365.00
                    Write that amount here.                                    6i.    + $_________________________

                6j. Total. Add lines 6f through 6i.                             6j.        38,365.00
                                                                                         $_________________________




                                                      Schedule E/F: Creditors Who Have Unsecured Claims
                                                                                                                                                     7      7
                                                                                                                                               page __ of ___


       Case 24-10685-CMA                       Doc 1          Filed 03/21/24           Ent. 03/21/24 13:53:30                 Pg. 30 of 56
 Fill in this information to identify your case:

 Debtor               Ó¿®¹«»®·¬» ß²²» Ú¿´½±óÌ¿§´±®
                      __________________________________________________________________
                       First Name             Middle Name              Last Name

 Debtor 2              ________________________________________________________________
 (Spouse If filing)    First Name             Middle Name              Last Name


                                         É»-¬»®² Ü·-¬®·½¬
 United States Bankruptcy Court for the: __________ District±ºofÉ¿-¸·²¹¬±²
                                                                ________

 Case number           ___________________________________________
  (If known)                                                                                                                                Check if this is an
                                                                                                                                            amended filing


          106G
Schedule G: Executory Contracts and Unexpired Leases                                                                                                 12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, copy the additional page, fill it out, number the entries, and attach it to this page. On the top of any
additional pages, write your name and case number (if known).


 1. Do you have any executory contracts or unexpired leases?
      x No. Check this box and file this form with the court with your other schedules. You have nothing else to report on this form.
           Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Property (Official Form 106A/B).

 2. List separately each person or company with whom you have the contract or lease. Then state what each contract or lease is for (for
    example, rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of executory contracts and
    unexpired leases.



      Person or company with whom you have the contract or lease                               State what the contract or lease is for


2.1
      _____________________________________________________________________
      Name
      _____________________________________________________________________
      Number     Street

      _____________________________________________________________________
      City                         State   ZIP Code

2.2
      _____________________________________________________________________
      Name
      _____________________________________________________________________
      Number     Street
      _____________________________________________________________________
      City                         State   ZIP Code

2.3
      _____________________________________________________________________
      Name

      _____________________________________________________________________
      Number     Street

      _____________________________________________________________________
      City                         State   ZIP Code

2.4
      _____________________________________________________________________
      Name

      _____________________________________________________________________
      Number     Street

      _____________________________________________________________________
      City                         State   ZIP Code

2.5
      _____________________________________________________________________
      Name

      _____________________________________________________________________
      Number     Street

      _____________________________________________________________________
      City                         State   ZIP Code


Official Form 106G                             Schedule G: Executory Contracts and Unexpired Leases                                                     1
                                                                                                                                              page 1 of ___


         Case 24-10685-CMA                         Doc 1       Filed 03/21/24             Ent. 03/21/24 13:53:30                    Pg. 31 of 56
 Fill in this information to identify your case:

 Debtor 1          Ó¿®¹«»®·¬» ß²²» Ú¿´½±óÌ¿§´±®
                   __________________________________________________________________
                     First Name                     Middle Name                  Last Name

 Debtor 2            ________________________________________________________________
 (Spouse, if filing) First Name                     Middle Name                  Last Name


                                         É»-¬»®² Ü·-¬®·½¬
 United States Bankruptcy Court for the: __________ District±ºofÉ¿-¸·²¹¬±²
                                                                ________

 Case number         ____________________________________________
  (If known)
                                                                                                                                                  Check if this is an
                                                                                                                                                  amended filing

          106H
Schedule H: Your Codebtors                                                                                                                                  12/15
Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If two married people
are filing together, both are equally responsible for supplying correct information. If more space is needed, copy the Additional Page, fill it out,
and number the entries in the boxes on the left. Attach the Additional Page to this page. On the top of any Additional Pages, write your name and
case number (if known). Answer every question.

 1. Do you have any codebtors? (If you are filing a joint case, do not list either spouse as a codebtor.)
      x No
           Yes
 2. Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories include
      Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)
           No. Go to line 3.
      x Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?
        x No
                Yes. In which community state or territory did you live? __________________. Fill in the name and current address of that person.


                 ______________________________________________________________________
                 Name of your spouse, former spouse, or legal equivalent

                 ______________________________________________________________________
                 Number             Street

                 ______________________________________________________________________
                 City                                             State                      ZIP Code


 3. In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the person
      shown in line 2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the creditor on
      Schedule D (Official Form 106D), Schedule E/F (Official Form 106E/F), or Schedule G (Official Form 106G). Use Schedule D,
      Schedule E/F, or Schedule G to fill out Column 2.

       Column 1: Your codebtor                                                                                 Column 2: The creditor to whom you owe the debt

                                                                                                                Check all schedules that apply:
3.1
         ________________________________________________________________________________                           Schedule D, line ______
         Name
                                                                                                                    Schedule E/F, line ______
         ________________________________________________________________________________
         Number            Street                                                                                   Schedule G, line ______
         ________________________________________________________________________________
         City                                                        State                    ZIP Code

3.2
         ________________________________________________________________________________                           Schedule D, line ______
         Name
                                                                                                                    Schedule E/F, line ______
         ________________________________________________________________________________
         Number            Street                                                                                   Schedule G, line ______
         ________________________________________________________________________________
         City                                                        State                    ZIP Code

3.3
         ________________________________________________________________________________                           Schedule D, line ______
         Name
                                                                                                                    Schedule E/F, line ______
         ________________________________________________________________________________
         Number            Street                                                                                   Schedule G, line ______
         ________________________________________________________________________________
         City                                                        State                    ZIP Code



Official Form 106H                                                            Schedule H: Your Codebtors                                           page 1 of _1


         Case 24-10685-CMA                               Doc 1               Filed 03/21/24             Ent. 03/21/24 13:53:30            Pg. 32 of 56
 Fill in this information to identify your case:


 Debtor 1           Ó¿®¹«»®·¬»     ß²²» Ú¿´½±óÌ¿§´±®
                    ____________________________________________________________________
                     First Name             Middle Name             Last Name

 Debtor 2            ____________________________________________________________________
 (Spouse, if filing) First Name             Middle Name             Last Name


 United States Bankruptcy Court for the: É»-¬»®² Ü·-¬®·½¬
                                         __________       ±º É¿-¸·²¹¬±²
                                                      District of ___________

 Case number         ___________________________________________                                   Check if this is:
  (If known)
                                                                                                       An amended filing
                                                                                                       A supplement showing postpetition chapter 13
                                                                                                       income as of the following date:
                                                                                                       ________________
                           106I                                                                        MM / DD / YYYY

Schedule I: Your Income                                                                                                                           12/15

Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
supplying correct information. If you are married and not filing jointly, and your spouse is living with you, include information about your spouse.
If you are separated and your spouse is not filing with you, do not include information about your spouse. If more space is needed, attach a
separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.


 Part 1:           Describe Employment


1. Fill in your employment
    information.                                                          Debtor 1                                 Debtor 2 or non-filing spouse

    If you have more than one job,
    attach a separate page with
    information about additional         Employment status                 Employed                                      Employed
    employers.                                                         x Not employed                                    Not employed
    Include part-time, seasonal, or
    self-employed work.
                                         Occupation                   __________________________________         __________________________________
    Occupation may include student
    or homemaker, if it applies.
                                         Employer’s name             __________________________________          __________________________________


                                         Employer’s address          _______________________________________   ________________________________________
                                                                      Number Street                             Number    Street
                                                                     _______________________________________   ________________________________________

                                                                     _______________________________________   ________________________________________

                                                                     _______________________________________   ________________________________________
                                                                      City            State  ZIP Code            City                State ZIP Code

                                         How long employed there?          _______                                _______

 Part 2:           Give Details About Monthly Income

    Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing
    spouse unless you are separated.
    If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines
    below. If you need more space, attach a separate sheet to this form.

                                                                                              For Debtor 1        For Debtor 2 or
                                                                                                                  non-filing spouse
 2. List monthly gross wages, salary, and commissions (before all payroll
     deductions). If not paid monthly, calculate what the monthly wage would be.        2.    0
                                                                                             $___________              $____________

 3. Estimate and list monthly overtime pay.                                                    0
                                                                                        3. + $___________        + $____________

 4. Calculate gross income. Add line 2 + line 3.                                        4.    0
                                                                                             $__________               $____________




Official Form 106I                                               Schedule I: Your Income                                                      page 1


         Case 24-10685-CMA                       Doc 1       Filed 03/21/24             Ent. 03/21/24 13:53:30                 Pg. 33 of 56
Debtor 1        Ó¿®¹«»®·¬»     ß²²» Ú¿´½±óÌ¿§´±®
                _______________________________________________________                                                     Case number (if known)_____________________________________
                 First Name          Middle Name                 Last Name



                                                                                                                           For Debtor 1        For Debtor 2 or
                                                                                                                                               non-filing spouse

   Copy line 4 here...............................................................................................   4.      0
                                                                                                                           $___________           $_____________

5. List all payroll deductions:

     5a. Tax, Medicare, and Social Security deductions                                                               5a.   $____________          $_____________
     5b. Mandatory contributions for retirement plans                                                                5b.   $____________          $_____________
     5c. Voluntary contributions for retirement plans                                                                5c.   $____________          $_____________
     5d. Required repayments of retirement fund loans                                                                5d.   $____________          $_____________
     5e. Insurance                                                                                                   5e.   $____________          $_____________
     5f. Domestic support obligations                                                                                5f.   $____________          $_____________

     5g. Union dues                                                                                                  5g.   $____________          $_____________

     5h. Other deductions. Specify: __________________________________                                               5h. + $____________       + $_____________
 6. Add the payroll deductions. Add lines 5a + 5b + 5c + 5d + 5e +5f + 5g + 5h.                                      6.    $____________          $_____________

 7. Calculate total monthly take-home pay. Subtract line 6 from line 4.                                              7.    $____________          $_____________


 8. List all other income regularly received:

     8a. Net income from rental property and from operating a business,
         profession, or farm
           Attach a statement for each property and business showing gross
           receipts, ordinary and necessary business expenses, and the total
                                                                                                                           $____________          $_____________
           monthly net income.                                                                                       8a.
     8b. Interest and dividends                                                                                      8b.   $____________          $_____________
     8c. Family support payments that you, a non-filing spouse, or a dependent
         regularly receive
           Include alimony, spousal support, child support, maintenance, divorce
                                                                                                                           $____________          $_____________
           settlement, and property settlement.                                                                      8c.
     8d. Unemployment compensation                                                                                   8d.   $____________          $_____________
     8e. Social Security after deduction for Medicare                                                                8e.     3130
                                                                                                                           $____________          $_____________
     8f. Other government assistance that you regularly receive
         Include cash assistance and the value (if known) of any non-cash assistance
         that you receive, such as food stamps (benefits under the Supplemental
         Nutrition Assistance Program) or housing subsidies.
         Specify: ___________________________________________________ 8f.                                                  $____________          $_____________

     8g. Pension or retirement income                                                                                8g.   $____________          $_____________

     8h. Other monthly income. Specify: _______________________________                                              8h. + $____________        + $_____________
 9. Add all other income. Add lines 8a + 8b + 8c + 8d + 8e + 8f +8g + 8h.                                            9.    $____________          $_____________

10. Calculate monthly income. Add line 7 + line 9.
                                                                                                                             3130                                          3130
    Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.                                       10.   $___________    +      $_____________       = $_____________
11. State all other regular contributions to the expenses that you list in Schedule J.
    Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and other
    friends or relatives.
    Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.
    Specify: _______________________________________________________________________________                                                                     11. + $_____________

12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.
                                                                                                                                                                          3130
                                                                                                                                                                         $_____________
    Write that amount on the Summary of Your Assets and Liabilities and Certain Statistical Information, if it applies                                           12.
                                                                                                                                                                         Combined
                                                                                                                                                                         monthly income
 13. Do you expect an increase or decrease within the year after you file this form?
     x No.
           Yes. Explain:


                                                                                       Schedule I: Your Income                                                              page 27       7

        Case 24-10685-CMA                                     Doc 1              Filed 03/21/24                       Ent. 03/21/24 13:53:30                Pg. 34 of 56
   Fill in this information to identify your case:

   Debtor 1          Ó¿®¹«»®·¬» ß²²» Ú¿´½±óÌ¿§´±®
                     __________________________________________________________________
                                                                                                       Check if this is:
                       First Name              Middle Name             Last Name

   Debtor 2            ________________________________________________________________
   (Spouse, if filing) First Name              Middle Name             Last Name
                                                                                                           An amended filing
                                                                                                           A supplement showing postpetition chapter 13
   United States Bankruptcy Court for the: É»-¬»®² Ü·-¬®·½¬
                                           __________       ±º É¿-¸·²¹¬±²
                                                       District of __________                              expenses as of the following date:
                                                                                                           ________________
   Case number         ___________________________________________                                         MM / DD / YYYY
    (If known)




                                    106J
 Schedule J: Your Expenses                                                                                                                            12/15

 Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
 information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case number
 (if known). Answer every question.

  Part 1:            Describe Your Household

 1. Is this a joint case?

     x No. Go to line 2.
         Yes. Does Debtor 2 live in a separate household?

                      No
                      Yes. Debtor 2 must file Official Form 106J-2, Expenses for Separate Household of Debtor 2.

 2. Do you have dependents?                  x No
                                                                                    Dependent’s relationship to              Dependent’s   Does dependent live
    Do not list Debtor 1 and                     Yes. Fill out this information for Debtor 1 or Debtor 2                     age           with you?
    Debtor 2.                                    each dependent ..........................
                                                                                                                                                No
    Do not state the dependents’                                                    _________________________                ________
    names.                                                                                                                                      Yes

                                                                                    _________________________                ________           No
                                                                                                                                                Yes

                                                                                    _________________________                ________           No
                                                                                                                                                Yes

                                                                                    _________________________                ________           No
                                                                                                                                                Yes

                                                                                    _________________________                ________           No
                                                                                                                                                Yes

 3. Do your expenses include                 x No
    expenses of people other than
    yourself and your dependents?                Yes

 Part 2:         Estimate Your Ongoing Monthly Expenses

 Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
 expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the
 applicable date.
 Include expenses paid for with non-cash government assistance if you know the value of
 such assistance and have included it on Schedule I: Your Income (Official Form 106I.)                                          Your expenses

  4. The rental or home ownership expenses for your residence. Include first mortgage payments and                              2016
                                                                                                                               $_____________________
      any rent for the ground or lot.                                                                                  4.

      If not included in line 4:
      4a.    Real estate taxes                                                                                         4a.     $_____________________
      4b.    Property, homeowner’s, or renter’s insurance                                                              4b.     $_____________________
      4c.    Home maintenance, repair, and upkeep expenses                                                             4c.     $_____________________
      4d.    Homeowner’s association or condominium dues                                                               4d.     $_____________________

Official Form 106J                                             Schedule J: Your Expenses                                                          page 1



            Case 24-10685-CMA                       Doc 1       Filed 03/21/24              Ent. 03/21/24 13:53:30                   Pg. 35 of 56
 Debtor 1        Ó¿®¹«»®·¬»     ß²²» Ú¿´½±óÌ¿§´±®
                 _______________________________________________________                     Case number (if known)_____________________________________
                 First Name     Middle Name        Last Name




                                                                                                                        Your expenses

                                                                                                                         0
                                                                                                                       $_____________________
 5. Additional mortgage payments for your residence, such as home equity loans                                  5.


 6. Utilities:
                                                                                                                          151
      6a.   Electricity, heat, natural gas                                                                      6a.    $_____________________
      6b.   Water, sewer, garbage collection                                                                    6b.      125
                                                                                                                       $_____________________
      6c.   Telephone, cell phone, Internet, satellite, and cable services                                      6c.
                                                                                                                        139
                                                                                                                       $_____________________
      6d.   Other. Specify: _______________________________________________                                     6d.    $_____________________

 7. Food and housekeeping supplies                                                                              7.      200
                                                                                                                       $_____________________

 8. Childcare and children’s education costs                                                                    8.      0
                                                                                                                       $_____________________
 9. Clothing, laundry, and dry cleaning                                                                         9.      5
                                                                                                                       $_____________________
10. Personal care products and services                                                                         10.     17
                                                                                                                       $_____________________
11. Medical and dental expenses                                                                                 11.      83
                                                                                                                       $_____________________

12. Transportation. Include gas, maintenance, bus or train fare.                                                         105
                                                                                                                       $_____________________
      Do not include car payments.                                                                              12.

13.   Entertainment, clubs, recreation, newspapers, magazines, and books                                        13.     20
                                                                                                                       $_____________________
14.   Charitable contributions and religious donations                                                          14.
                                                                                                                        310
                                                                                                                       $_____________________

15. Insurance.                                                                                                                                        1

      Do not include insurance deducted from your pay or included in lines 4 or 20.

      15a. Life insurance                                                                                       15a.   $_____________________
      15b. Health insurance                                                                                     15b.   $_____________________
      15c. Vehicle insurance                                                                                    15c.    110
                                                                                                                       $_____________________
      15d. Other insurance. Specify:_______________________________________                                     15d.   $_____________________

16.   Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
      Specify: ________________________________________________________                                         16.    $_____________________

17. Installment or lease payments:

      17a. Car payments for Vehicle 1                                                                           17a.   $_____________________

      17b. Car payments for Vehicle 2                                                                           17b.   $_____________________

      17c. Other. Specify:_______________________________________________                                       17c.   $_____________________

      17d. Other. Specify:_______________________________________________                                       17d.   $_____________________

18. Your payments of alimony, maintenance, and support that you did not report as deducted from
      your pay on line 5, Schedule I, Your Income (Official Form 106I).                                          18.
                                                                                                                       $_____________________

19. Other payments you make to support others who do not live with you.

      Specify:_______________________________________________________                                            19.   $_____________________

20. Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.

      20a. Mortgages on other property                                                                          20a.   $_____________________

      20b. Real estate taxes                                                                                    20b.   $_____________________

      20c. Property, homeowner’s, or renter’s insurance                                                         20c.   $_____________________

      20d. Maintenance, repair, and upkeep expenses                                                             20d.   $_____________________

      20e. Homeowner’s association or condominium dues                                                          20e.   $_____________________



                                                               Schedule J: Your Expenses                                                     page 2



            Case 24-10685-CMA                    Doc 1          Filed 03/21/24           Ent. 03/21/24 13:53:30              Pg. 36 of 56
 Debtor 1        Ó¿®¹«»®·¬»     ß²²» Ú¿´½±óÌ¿§´±®
                 _______________________________________________________                        Case number (if known)_____________________________________
                  First Name    Middle Name       Last Name




21.
                       Pet Expenses
       Other. Specify: _________________________________________________                                           21.      50
                                                                                                                         +$_____________________

22.    Calculate your monthly expenses.

       22a. Add lines 4 through 21.                                                                              22a.        3331
                                                                                                                          $_____________________

       22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2                      22b.        0
                                                                                                                          $_____________________

       22c. Add line 22a and 22b. The result is your monthly expenses.                                           22c.        3331
                                                                                                                          $_____________________



23. Calculate your monthly net income.                                                                                       3130.00
                                                                                                                           $_____________________
      23a.   Copy line 12 (your combined monthly income) from Schedule I.                                         23a.

      23b.    Copy your monthly expenses from line 22c above.                                                     23b.       3331.00
                                                                                                                         – $_____________________
      23c.   Subtract your monthly expenses from your monthly income.                                                          0
                                                                                                                           $_____________________
             The result is your monthly net income.                                                               23c.




24. Do you expect an increase or decrease in your expenses within the year after you file this form?

      For example, do you expect to finish paying for your car loan within the year or do you expect your
      mortgage payment to increase or decrease because of a modification to the terms of your mortgage?

      x No.
         Yes.       Explain here:




                                                              Schedule J: Your Expenses                                                         page 3



             Case 24-10685-CMA                  Doc 1          Filed 03/21/24            Ent. 03/21/24 13:53:30                 Pg. 37 of 56
Fill in this information to identify your case:

Debtor 1           Ó¿®¹«»®·¬» ß²²» Ú¿´½±óÌ¿§´±®
                  __________________________________________________________________
                    First Name                Middle Name           Last Name

Debtor 2            ________________________________________________________________
(Spouse, if filing) First Name                Middle Name           Last Name


United States Bankruptcy Court for the: É»-¬»®² Ü·-¬®·½¬
                                        __________       ±º É¿-¸·²¹¬±²
                                                    District of __________

Case number         ___________________________________________
(If known)
                                                                                                                                             Check if this is an
                                                                                                                                             amended filing


                                     106Dec
  Declaration About an Individual Debtor’s Schedules                                                                                                   12/15

  If two married people are filing together, both are equally responsible for supplying correct information.

  You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or
  obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
  years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



                    Sign Below



       Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

        x No
             Yes. Name of person__________________________________________________. Attach Bankruptcy Petition Preparer’s Notice, Declaration, and
                                                                                               Signature (Official Form 119).




       Under penalty of perjury, I declare that I have read the summary and schedules filed with this declaration and
       that they are true and correct.




           ñ-ñ Ó¿®¹«»®·¬» ß²²» Ú¿´½±óÌ¿§´±®
          ______________________________________________               _____________________________
         Signature of Debtor 1                                         Signature of Debtor 2

                 03/18/2024
         Date _________________                                        Date _________________
                MM /    DD       /   YYYY                                       MM / DD /   YYYY




  Official Form 106Dec                                      Declaration About an Individual Debtor’s Schedules



             Case 24-10685-CMA                         Doc 1    Filed 03/21/24                  Ent. 03/21/24 13:53:30              Pg. 38 of 56
   Fill in this information to identify your case:

   Debtor 1          Ó¿®¹«»®·¬» ß²²» Ú¿´½±óÌ¿§´±®
                     __________________________________________________________________
                       First Name             Middle Name                Last Name

   Debtor 2            ________________________________________________________________
   (Spouse, if filing) First Name             Middle Name                Last Name


   United States Bankruptcy Court for the: É»-¬»®² Ü·-¬®·½¬
                                           __________       ±º É¿-¸·²¹¬±²
                                                       District of ______________

   Case number         ___________________________________________
    (If known)                                                                                                                         Check if this is an
                                                                                                                                       amended filing




                                    107
 Statement of Financial Affairs for Individuals Filing for Bankruptcy                                                                              ìñîî

 Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
 information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case
 number (if known). Answer every question.


   Part 1:         Give Details About Your Marital Status and Where You Lived Before


   1. What is your current marital status?


             Married
         x Not married

   2. During the last 3 years, have you lived anywhere other than where you live now?

        x No
             Yes. List all of the places you lived in the last 3 years. Do not include where you live now.

                 Debtor 1:                                        Dates Debtor 1      Debtor 2:                                         Dates Debtor 2
                                                                  lived there                                                           lived there

                                                                                         Same as Debtor 1                                  Same as Debtor 1

                 __________________________________________       From     ________      ___________________________________________       From ________
                  Number    Street                                                       Number Street
                                                                  To       ________                                                        To      ________
                 __________________________________________                              ___________________________________________

                 __________________________________________                              ___________________________________________
                 City                    State ZIP Code                                  City                    State ZIP Code


                                                                                         Same as Debtor 1                                  Same as Debtor 1

                 __________________________________________       From     ________      ___________________________________________       From ________
                  Number    Street                                                       Number Street
                                                                  To       ________                                                        To      ________
                 __________________________________________                              ___________________________________________

                 __________________________________________                              ___________________________________________
                 City                    State ZIP Code                                  City                    State   ZIP Code


   3. Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory? (Community property
       states and territories include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)
        x    No
             Yes. Make sure you fill out Schedule H: Your Codebtors (Official Form 106H).



   Part 2: Explain the Sources of Your Income

Official Form 107                              Statement of Financial Affairs for Individuals Filing for Bankruptcy                          page 1




            Case 24-10685-CMA                      Doc 1        Filed 03/21/24              Ent. 03/21/24 13:53:30              Pg. 39 of 56
Debtor 1        Ó¿®¹«»®·¬»    ß²²» Ú¿´½±óÌ¿§´±®
                _______________________________________________________                                  Case number (if known)_____________________________________
                 First Name     Middle Name          Last Name




 4. Did you have any income from employment or from operating a business during this year or the two previous calendar years?
     Fill in the total amount of income you received from all jobs and all businesses, including part-time activities.
     If you are filing a joint case and you have income that you receive together, list it only once under Debtor 1.

           No
     x Yes. Fill in the details.
                                                           Debtor 1                                               Debtor 2

                                                           Sources of income             Gross income             Sources of income            Gross income
                                                           Check all that apply.         (before deductions and   Check all that apply.        (before deductions and
                                                                                         exclusions)                                           exclusions)


            From January 1 of current year until
                                                            x Wages, commissions,          0                          Wages, commissions,
                                                                 bonuses, tips           $________________            bonuses, tips            $________________
            the date you filed for bankruptcy:
                                                                 Operating a business                                 Operating a business

                                                            x Wages, commissions,                                     Wages, commissions,
            For last calendar year:
                                                                 bonuses, tips            1200
                                                                                         $________________            bonuses, tips            $________________
                                       2023
            (January 1 to December 31, _________)                Operating a business                                 Operating a business
                                              YYYY



            For the calendar year before that:
                                                            x Wages, commissions,                                     Wages, commissions,

                                       2022
                                                                 bonuses, tips            27754
                                                                                         $________________
                                                                                                                      bonuses, tips
                                                                                                                                               $________________
            (January 1 to December 31, _________)                Operating a business                                 Operating a business
                                              YYYY




 5. Did you receive any other income during this year or the two previous calendar years?
     Include income regardless of whether that income is taxable. Examples of other income are alimony; child support; Social Security,
     unemployment, and other public benefit payments; pensions; rental income; interest; dividends; money collected from lawsuits; royalties; and
     gambling and lottery winnings. If you are filing a joint case and you have income that you received together, list it only once under Debtor 1.

     List each source and the gross income from each source separately. Do not include income that you listed in line 4.

           No
     x     Yes. Fill in the details.
                                                            Debtor 1                                               Debtor 2

                                                            Sources of income            Gross income from         Sources of income           Gross income from
                                                            Describe below.              each source               Describe below.             each source
                                                                                         (before deductions and                                (before deductions and
                                                                                         exclusions)                                           exclusions)


                                                 Social Security
                                                 __________________                      6610              _____________________
            From January 1 of current year until                                        $_________________                       $_________________
            the date you filed for bankruptcy:   __________________                     $_________________ _____________________ $_________________
                                                          __________________            $_________________ _____________________ $_________________


                                                          Social Security
                                                          __________________              38431
                                                                                        $_________________ _____________________ $_________________
            For last calendar year:
                                        2023
            (January 1 to December 31, ______)            __________________            $_________________ _____________________ $_________________
                                              YYYY
                                                          __________________            $_________________ _____________________ $_________________



            For the calendar year before that:            Social Security
                                                          __________________
                                                                                          33312
                                                                                        $_________________ _____________________ $_________________
                                        2022
            (January 1 to December 31, ______)            __________________            $_________________ _____________________ $_________________
                                              YYYY
                                                          __________________            $_________________ _____________________ $_________________




                                                 Statement of Financial Affairs for Individuals Filing for Bankruptcy                                      page 2




         Case 24-10685-CMA                           Doc 1         Filed 03/21/24                Ent. 03/21/24 13:53:30                      Pg. 40 of 56
Debtor 1      Ó¿®¹«»®·¬»     ß²²» Ú¿´½±óÌ¿§´±®
              _______________________________________________________                              Case number (if known)_____________________________________
               First Name       Middle Name           Last Name




 Part 3:      List Certain Payments You Made Before You Filed for Bankruptcy



 6. Are either Debtor 1’s or Debtor 2’s debts primarily consumer debts?

           No. Neither Debtor 1 nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101(8) as
               “incurred by an individual primarily for a personal, family, or household purpose.”
                                                                                                       üéëéëö* or more?
               During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $6,

                    No. Go to line 7.

                    Yes. List below each creditor to whom you paid a total of üéëéëö
                                                                              $6,   * or more in one or more payments and the
                         total amount you paid that creditor. Do not include payments for domestic support obligations, such as
                         child support and alimony. Also, do not include payments to an attorney for this bankruptcy case.
               * Subject to adjustment onìñðïñîë
                                         4/01/ and every 3 years after that for cases filed on or after the date of adjustment.

      x Yes. Debtor 1 or Debtor 2 or both have primarily consumer debts.
               During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

                    No. Go to line 7.

                    Yes. List below each creditor to whom you paid a total of $600 or more and the total amount you paid that
                         creditor. Do not include payments for domestic support obligations, such as child support and
                         alimony. Also, do not include payments to an attorney for this bankruptcy case.


                                                                        Dates of    Total amount paid        Amount you still owe       Was this payment for…
                                                                        payment

                            Key Bank                              2015_________
                                                                       Monthly        6,045.00                   291,046.00
                      ____________________________________                          $_________________ $__________________              x Mortgage
                      Creditor’s Name
                            Client Services                                                                                                Car
                      ____________________________________             _________
                      Number    Street                                                                                                     Credit card
                        P.O. Box 5788
                        OH-01-51-05DF
                                                                                                                                           Loan repayment
                      ____________________________________             _________
                        Cleveland, OH 44101                                                                                                Suppliers or vendors
                      ____________________________________
                      City                    State       ZIP Code                                                                         Other ____________




                      ____________________________________             _________    $_________________ $__________________                 Mortgage
                      Creditor’s Name
                                                                                                                                           Car
                      ____________________________________             _________                                                           Credit card
                      Number    Street

                                                                                                                                           Loan repayment
                      ____________________________________             _________
                                                                                                                                           Suppliers or vendors
                      ____________________________________                                                                                 Other ____________
                      City                    State       ZIP Code




                      ____________________________________             _________    $_________________ $__________________                 Mortgage
                      Creditor’s Name
                                                                                                                                           Car
                      ____________________________________             _________                                                           Credit card
                      Number    Street

                                                                                                                                           Loan repayment
                      ____________________________________             _________
                                                                                                                                           Suppliers or vendors
                      ____________________________________                                                                                 Other ____________
                      City                    State       ZIP Code




                                                  Statement of Financial Affairs for Individuals Filing for Bankruptcy                             page 3




       Case 24-10685-CMA                              Doc 1          Filed 03/21/24        Ent. 03/21/24 13:53:30                   Pg. 41 of 56
Debtor 1       Ó¿®¹«»®·¬»    ß²²» Ú¿´½±óÌ¿§´±®
               _______________________________________________________                                Case number (if known)_____________________________________
                   First Name      Middle Name           Last Name




 7. Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
     Insiders include your relatives; any general partners; relatives of any general partners; partnerships of which you are a general partner;
     corporations of which you are an officer, director, person in control, or owner of 20% or more of their voting securities; and any managing
     agent, including one for a business you operate as a sole proprietor. 11 U.S.C. § 101. Include payments for domestic support obligations,
     such as child support and alimony.
                                                                 Type text here
     x No
           Yes. List all payments to an insider.
                                                                           Dates of   Total amount      Amount you still   Reason for this payment
                                                                           payment    paid              owe


            ____________________________________________                 _________    $____________ $____________
            Insider’s Name


            ____________________________________________                 _________
            Number        Street


            ____________________________________________                 _________

            ____________________________________________
            City                                 State   ZIP Code



            ____________________________________________                              $____________ $____________
                                                                         _________
            Insider’s Name

            ____________________________________________                 _________
            Number        Street


            ____________________________________________                 _________

            ____________________________________________
            City                                 State   ZIP Code



 8. Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that benefited
     an insider?
     Include payments on debts guaranteed or cosigned by an insider.

     x No
           Yes. List all payments that benefited an insider.
                                                                          Dates of     Total amount     Amount you still   Reason for this payment
                                                                          payment      paid             owe
                                                                                                                           Include creditor’s name

            ____________________________________________                 _________    $____________ $____________
            Insider’s Name


            ____________________________________________                 _________
            Number        Street


            ____________________________________________                 _________

            ____________________________________________
            City                                 State   ZIP Code




            ____________________________________________                 _________    $____________ $____________
            Insider’s Name


            ____________________________________________                 _________
            Number        Street


            ____________________________________________                 _________

            ____________________________________________
            City                                 State   ZIP Code




                                                    Statement of Financial Affairs for Individuals Filing for Bankruptcy                              page 4




       Case 24-10685-CMA                                 Doc 1        Filed 03/21/24         Ent. 03/21/24 13:53:30                      Pg. 42 of 56
Debtor 1       Ó¿®¹«»®·¬»     ß²²» Ú¿´½±óÌ¿§´±®
               _______________________________________________________                                         Case number (if known)_____________________________________
                First Name            Middle Name            Last Name




  Part 4:      Identify Legal Actions, Repossessions, and Foreclosures
 9. Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?
     List all such matters, including personal injury cases, small claims actions, divorces, collection suits, paternity actions, support or custody modifications,
     and contract disputes.
     x No
           Yes. Fill in the details.
                                                                    Nature of the case                   Court or agency                                Status of the case


                                                                                                        ________________________________________            Pending
            Case title_____________________________                                                     Court Name
                                                                                                                                                            On appeal
            ____________________________________                                                        ________________________________________
                                                                                                        Number    Street                                    Concluded

            Case number ________________________                                                        ________________________________________
                                                                                                        City                   State   ZIP Code



                                                                                                        ________________________________________            Pending
            Case title_____________________________                                                     Court Name
                                                                                                                                                            On appeal
            ____________________________________                                                        ________________________________________
                                                                                                        Number    Street                                    Concluded

            Case number ________________________                                                        ________________________________________
                                                                                                        City                   State   ZIP Code



 10. Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached, seized, or levied?
     Check all that apply and fill in the details below.

     x No. Go to line 11.
           Yes. Fill in the information below.

                                                                              Describe the property                                     Date         Value of the property



                 _________________________________________                                                                              __________    $______________
                 Creditor’s Name


                 _________________________________________
                 Number      Street                                           Explain what happened

                                                                                   Property was repossessed.
                 _________________________________________
                                                                                   Property was foreclosed.
                                                                                   Property was garnished.
                 _________________________________________
                 City                               State   ZIP Code               Property was attached, seized, or levied.

                                                                              Describe the property                                     Date           Value of the property



                                                                                                                                       __________     $______________
                 _________________________________________
                 Creditor’s Name


                 _________________________________________
                 Number      Street
                                                                              Explain what happened

                 _________________________________________                         Property was repossessed.
                                                                                   Property was foreclosed.
                 _________________________________________                         Property was garnished.
                 City                               State   ZIP Code
                                                                                   Property was attached, seized, or levied.



                                                       Statement of Financial Affairs for Individuals Filing for Bankruptcy                                    page 5




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Debtor 1          Ó¿®¹«»®·¬»    ß²²» Ú¿´½±óÌ¿§´±®
                  _______________________________________________________                                Case number (if known)_____________________________________
                   First Name    Middle Name             Last Name




 11. Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any amounts from your
     accounts or refuse to make a payment because you owed a debt?
     x No
           Yes. Fill in the details.

                                                                 Describe the action the creditor took                         Date action      Amount
           ______________________________________                                                                              was taken
           Creditor’s Name


           ______________________________________                                                                             ____________ $________________
           Number      Street


           ______________________________________

           ______________________________________
           City                           State   ZIP Code       Last 4 digits of account number: XXXX–___ ___ ___ ___


 12. Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of
     creditors, a court-appointed receiver, a custodian, or another official?
     x No
           Yes

 Part 5:          List Certain Gifts and Contributions


 13. Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?
     x No
           Yes. Fill in the details for each gift.


            Gifts with a total value of more than $600           Describe the gifts                                            Dates you gave       Value
            per person                                                                                                         the gifts



           ______________________________________                                                                              _________          $_____________
           Person to Whom You Gave the Gift


           ______________________________________                                                                              _________          $_____________

           ______________________________________
           Number      Street


           ______________________________________
           City                           State   ZIP Code


           Person’s relationship to you    ______________


           Gifts with a total value of more than $600            Describe the gifts                                            Dates you gave      Value
           per person                                                                                                          the gifts


           ______________________________________                                                                              _________          $_____________
           Person to Whom You Gave the Gift


           ______________________________________                                                                              _________          $_____________


           ______________________________________
           Number      Street


           ______________________________________
           City                           State   ZIP Code


           Person’s relationship to you ______________


                                                   Statement of Financial Affairs for Individuals Filing for Bankruptcy                                    page 6




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Debtor 1          Ó¿®¹«»®·¬»    ß²²» Ú¿´½±óÌ¿§´±®
                  _______________________________________________________                                        Case number (if known)_____________________________________
                   First Name     Middle Name                Last Name




 14. Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600 to any charity?

           No
     x Yes. Fill in the details for each gift or contribution.
            Gifts or contributions to charities                     Describe what you contributed                                         Date you            Value
            that total more than $600                                                                                                     contributed


                                                                   Cash
           Northgate Open Bible
           _____________________________________                                                                                           Monthly
                                                                                                                                          _________                9776 total
                                                                                                                                                            #1 $_____________
           Charity’s Name

           111 NE 120th ST                                           Charity #2                                                                                            total
           _____________________________________                     Daystar Daystar Television Network                                    Monthly #2 $_____________
                                                                                                                                          _________    3225
                                                                     Partner Processing
           _____________________________________                     PO Box 610546
           Number      Street
                                                                     Dallas, TX 75261-0546 USA
           Seattle, WA 98125
           _____________________________________
           City           State        ZIP Code




 Part 6:           List Certain Losses


 15. Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire, other
     disaster, or gambling?

     x No
           Yes. Fill in the details.

            Describe the property you lost and                       Describe any insurance coverage for the loss                         Date of your        Value of property
            how the loss occurred                                                                                                         loss                lost
                                                                     Include the amount that insurance has paid. List pending insurance
                                                                     claims on line 33 of Schedule A/B: Property.


                                                                                                                                          _________            $_____________




 Part 7:          List Certain Payments or Transfers

 16. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone
     you consulted about seeking bankruptcy or preparing a bankruptcy petition?
     Include any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required in your bankruptcy.

           No
     x Yes. Fill in the details.
              Greg Hinrichsen, Attorney                              Description and value of any property transferred                    Date payment or     Amount of payment
            ___________________________________                                                                                           transfer was
            Person Who Was Paid                                                                                                           made

             23632 Hwy 99 STE F296                                  1000 Money Order
            ___________________________________
            Number       Street                                                                                                            3/13/24
                                                                                                                                          _________            1000
                                                                                                                                                              $_____________
              Edmonds, WA 98020
            ___________________________________
                                                                                                                                          _________           $_____________
            ___________________________________
            City                         State    ZIP Code

             g.hinrichsen@comcast.net
            ____________________________________________
            Email or website address

            ___________________________________
            Person Who Made the Payment, if Not You



                                                    Statement of Financial Affairs for Individuals Filing for Bankruptcy                                              page 7




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Debtor 1       Ó¿®¹«»®·¬»     ß²²» Ú¿´½±óÌ¿§´±®
               _______________________________________________________                                       Case number (if known)_____________________________________
                   First Name      Middle Name              Last Name




                                                                    Description and value of any property transferred               Date payment or        Amount of
                                                                                                                                    transfer was made      payment

            ____________________________________
            Person Who Was Paid
                                                                                                                                    _________             $_____________
            ____________________________________
            Number       Street

                                                                                                                                    _________             $_____________
            ____________________________________

            ____________________________________
            City                        State    ZIP Code



            ________________________________________________
            Email or website address

            ___________________________________
            Person Who Made the Payment, if Not You


 17. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone who
     promised to help you deal with your creditors or to make payments to your creditors?
     Do not include any payment or transfer that you listed on line 16.

     x No
           Yes. Fill in the details.
                                                                    Description and value of any property transferred               Date payment or       Amount of payment
                                                                                                                                    transfer was
            ____________________________________                                                                                    made
            Person Who Was Paid

            ____________________________________                                                                                    _________             $____________
            Number        Street

            ____________________________________
                                                                                                                                    _________             $____________
            ____________________________________
            City                        State    ZIP Code

 18. Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other than property
     transferred in the ordinary course of your business or financial affairs?
     Include both outright transfers and transfers made as security (such as the granting of a security interest or mortgage on your property).
     Do not include gifts and transfers that you have already listed on this statement.
     x No
           Yes. Fill in the details.
                                                                    Description and value of property        Describe any property or payments received      Date transfer
                                                                    transferred                              or debts paid in exchange                       was made
            ___________________________________
            Person Who Received Transfer

            ___________________________________                                                                                                              _________
            Number       Street

            ___________________________________

            ___________________________________
            City                        State    ZIP Code


            Person’s relationship to you _____________

            ___________________________________
            Person Who Received Transfer
                                                                                                                                                             _________
            ___________________________________
            Number       Street

            ___________________________________

            ___________________________________
            City                        State    ZIP Code

            Person’s relationship to you _____________

                                                   Statement of Financial Affairs for Individuals Filing for Bankruptcy                                         page 8




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Debtor 1        Ó¿®¹«»®·¬»    ß²²» Ú¿´½±óÌ¿§´±®
                _______________________________________________________                                      Case number (if known)_____________________________________
                   First Name     Middle Name              Last Name




 19. Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which you
     are a beneficiary? (These are often called asset-protection devices.)

     x No
           Yes. Fill in the details.

                                                                   Description and value of the property transferred                                       Date transfer
                                                                                                                                                           was made


                                                                                                                                                           _________
           Name of trust __________________________


           ______________________________________




 Part 8: List Certain Financial Accounts, Instruments, Safe Deposit Boxes, and Storage Units

 20. Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your benefit,
     closed, sold, moved, or transferred?
     Include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions,
     brokerage houses, pension funds, cooperatives, associations, and other financial institutions.
           No
           Yes. Fill in the details.

                                                                   Last 4 digits of account number     Type of account or        Date account was       Last balance before
                                                                                                       instrument                closed, sold, moved,   closing or transfer
                                                                                                                                 or transferred
             Wells Fargo
            ____________________________________
            Name of Financial Institution                                    8657                                                2/12/24                  67
             13273 Aurora Ave N,
                                                                   XXXX–___ ___ ___ ___                    Checking              _________              $___________
            ____________________________________
            Number       Street
                                                                                                           Savings

            ____________________________________                                                           Money market
             Seattle, WA 98133                                                                             Brokerage
            ____________________________________
            City                       State    ZIP Code
                                                                                                           Other__________



            ____________________________________                   XXXX–___ ___ ___ ___                    Checking              _________              $___________
            Name of Financial Institution
                                                                                                           Savings
            ____________________________________
            Number       Street                                                                            Money market

            ____________________________________                                                           Brokerage

            ____________________________________                                                           Other__________
            City                       State    ZIP Code


 21. Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository for
     securities, cash, or other valuables?
        No
           Yes. Fill in the details.
                                                                   Who else had access to it?                      Describe the contents                       Do you still
                                                                                                                                                               have it?

                                                                                                                                                                   No
            ____________________________________                  _______________________________________
            Name of Financial Institution                         Name
                                                                                                                                                                   Yes

            ____________________________________                  _______________________________________
            Number       Street                                   Number   Street

            ____________________________________
                                                                  _______________________________________
                                                                  City       State      ZIP Code
            ____________________________________
            City                       State    ZIP Code



                                                  Statement of Financial Affairs for Individuals Filing for Bankruptcy                                        page 9




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Debtor 1           Ó¿®¹«»®·¬»    ß²²» Ú¿´½±óÌ¿§´±®
                   _______________________________________________________                                              Case number (if known)_____________________________________
                    First Name     Middle Name               Last Name




22. Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy?
           No
           Yes. Fill in the details.
                                                                    Who else has or had access to it?                        Describe the contents                       Do you still
                                                                                                                                                                         have it?


             ___________________________________                    _______________________________________                                                                  No
             Name of Storage Facility                               Name
                                                                                                                                                                             Yes
             ___________________________________                    _______________________________________
             Number       Street                                    Number    Street

             ___________________________________                    _______________________________________
                                                                    City State ZIP Code
             ___________________________________
             City                        State    ZIP Code



 Part 9:              Identify Property You Hold or Control for Someone Else

 23. Do you hold or control any property that someone else owns? Include any property you borrowed from, are storing for,
     or hold in trust for someone.
           No
           Yes. Fill in the details.
                                                                   Where is the property?                                    Describe the property                   Value


             ___________________________________
             Owner’s Name                                                                                                                                            $__________
                                                                  _________________________________________
             ___________________________________                  Number     Street
             Number       Street
                                                                  _________________________________________
             ___________________________________
                                                                  _________________________________________
             ___________________________________                  City                             State     ZIP Code
             City                        State    ZIP Code


 Part 10:             Give Details About Environmental Information

 For the purpose of Part 10, the following definitions apply:
     Environmental law means any federal, state, or local statute or regulation concerning pollution, contamination, releases of
     hazardous or toxic substances, wastes, or material into the air, land, soil, surface water, groundwater, or other medium,
     including statutes or regulations controlling the cleanup of these substances, wastes, or material.
     Site means any location, facility, or property as defined under any environmental law, whether you now own, operate, or
     utilize it or used to own, operate, or utilize it, including disposal sites.
     Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic
     substance, hazardous material, pollutant, contaminant, or similar term.

 Report all notices, releases, and proceedings that you know about, regardless of when they occurred.

 24. Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental law?

     x No
           Yes. Fill in the details.
                                                                    Governmental unit                            Environmental law, if you know it                  Date of notice



            ____________________________________                   _______________________________                                                                   _________
            Name of site                                           Governmental unit

            ____________________________________                   _______________________________
            Number       Street                                    Number    Street

                                                                   _______________________________
            ____________________________________                   City                   State   ZIP Code


            ____________________________________
            City                        State    ZIP Code




                                                    Statement of Financial Affairs for Individuals Filing for Bankruptcy                                                page 10




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Debtor 1        Ó¿®¹«»®·¬»    ß²²» Ú¿´½±óÌ¿§´±®
                _______________________________________________________                                                Case number (if known)_____________________________________
                   First Name      Middle Name              Last Name




 25. Have you notified any governmental unit of any release of hazardous material?

           No
           Yes. Fill in the details.
                                                                   Governmental unit                               Environmental law, if you know it                   Date of notice


            ____________________________________ _______________________________
            Name of site                                          Governmental unit
                                                                                                                                                                        _________

            ____________________________________ _______________________________
            Number       Street                                   Number     Street


            ____________________________________ _______________________________
                                                                  City                  State    ZIP Code

            ____________________________________
            City                        State    ZIP Code


 26. Have you been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

           No
           Yes. Fill in the details.
                                                                                                                                                                        Status of the
                                                                    Court or agency                                     Nature of the case
                                                                                                                                                                        case

           Case title______________________________
                                                                    ________________________________                                                                        Pending
                                                                    Court Name
                                                                                                                                                                            On appeal
           ______________________________________                   ________________________________
                                                                    Number     Street                                                                                       Concluded

           ______________________________________
                                                                    ________________________________
           Case number                                              City                        State   ZIP Code



 Part 11:            Give Details About Your Business or Connections to Any Business
 27. Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any business?
                A sole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time
                A member of a limited liability company (LLC) or limited liability partnership (LLP)
                A partner in a partnership
                An officer, director, or managing executive of a corporation
                An owner of at least 5% of the voting or equity securities of a corporation

           No. None of the above applies. Go to Part 12.
           Yes. Check all that apply above and fill in the details below for each business.
                                                                    Describe the nature of the business                               Employer Identification number
            ____________________________________                                                                                      Do not include Social Security number or ITIN.
            Business Name


            ____________________________________                                                                                      EIN: ___ ___ – ___ ___ ___ ___ ___ ___ ___
            Number        Street
                                                                    Name of accountant or bookkeeper                                  Dates business existed
            ____________________________________

                                                                                                                                      From      _______ To _______
            ____________________________________
            City                        State    ZIP Code

                                                                    Describe the nature of the business                               Employer Identification number
            ____________________________________                                                                                      Do not include Social Security number or ITIN.
            Business Name


            ____________________________________                                                                                      EIN: ___ ___ – ___ ___ ___ ___ ___ ___ ___
            Number        Street
                                                                    Name of accountant or bookkeeper                                  Dates business existed
            ____________________________________

            ____________________________________
                                                                                                                                      From      _______ To _______
            City                        State    ZIP Code


                                                   Statement of Financial Affairs for Individuals Filing for Bankruptcy                                                   page 11




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Debtor 1      Ó¿®¹«»®·¬»    ß²²» Ú¿´½±óÌ¿§´±®
              _______________________________________________________                                     Case number (if known)_____________________________________
                   First Name      Middle Name          Last Name




                                                                                                                        Employer Identification number
                                                                Describe the nature of the business
                                                                                                                        Do not include Social Security number or ITIN.
            ____________________________________
            Business Name
                                                                                                                        EIN: ___ ___ – ___ ___ ___ ___ ___ ___ ___
            ____________________________________
            Number        Street
                                                                Name of accountant or bookkeeper                        Dates business existed

            ____________________________________

            ____________________________________                                                                        From     _______ To _______
            City                        State    ZIP Code




 28. Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? Include all financial
     institutions, creditors, or other parties.

     x No
           Yes. Fill in the details below.

                                                                Date issued



            ____________________________________                ____________
            Name                                                MM / DD / YYYY


            ____________________________________
            Number        Street


            ____________________________________

            ____________________________________
            City                        State    ZIP Code




 Part 12:          Sign Below


      I have read the answers on this Statement of Financial Affairs and any attachments, and I declare under penalty of perjury that the
      answers are true and correct. I understand that making a false statement, concealing property, or obtaining money or property by fraud
      in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.
      18 U.S.C. §§ 152, 1341, 1519, and 3571.



              /s/ Marguerite Anne Falco-Taylor
            ______________________________________________                       _____________________________
            Signature of Debtor 1                                                Signature of Debtor 2

                     3/18/2024
            Date ________________                                                Date _________________

      Did you attach additional pages to Your Statement of Financial Affairs for Individuals Filing for Bankruptcy (Official Form 107)?

       x     No
             Yes


      Did you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?
       x No
            Yes. Name of person_____________________________________________________________. Attach the Bankruptcy Petition Preparer’s Notice,
                                                                                              Declaration, and Signature (Official Form 119).




                                                   Statement of Financial Affairs for Individuals Filing for Bankruptcy                                     page 12




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Fill in this information to identify your case:

Debtor 1           Ó¿®¹«»®·¬» ß²²» Ú¿´½±óÌ¿§´±®
                  __________________________________________________________________
                    First Name              Middle Name                Last Name

Debtor 2            ________________________________________________________________
(Spouse, if filing) First Name              Middle Name                Last Name


United States Bankruptcy Court for the: É»-¬»®² Ü·-¬®·½¬
                                        __________       ±º É¿-¸·²¹¬±²
                                                     District of __________

Case number         ___________________________________________                                                                                Check if this is an
 (If known)                                                                                                                                    amended filing



                                  108
  Statement of Intention for Individuals Filing Under Chapter 7                                                                                          12/15

  If you are an individual filing under chapter 7, you must fill out this form if:
      creditors have claims secured by your property, or
      you have leased personal property and the lease has not expired.
  You must file this form with the court within 30 days after you file your bankruptcy petition or by the date set for the meeting of creditors,
  whichever is earlier, unless the court extends the time for cause. You must also send copies to the creditors and lessors you list on the form.
  If two married people are filing together in a joint case, both are equally responsible for supplying correct information.
  Both debtors must sign and date the form.
  Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
  write your name and case number (if known).

    Part 1:          List Your Creditors Who Have Secured Claims

    1. For any creditors that you listed in Part 1 of Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D), fill in the
       information below.

           Identify the creditor and the property that is collateral               What do you intend to do with the property that    Did you claim the property
                                                                                   secures a debt?                                    as exempt on Schedule C?

          Creditor’s
          name:                  Key Bank                                            Surrender the property.                             No
                                                                                     Retain the property and redeem it.                x Yes
         Description of
         property                House and Lot                                       Retain the property and enter into a
         securing debt:          1321 N 122nd St                                     Reaffirmation Agreement.
                                                                                                                         Pay and Retain
                                 Seattle, WA 98133                                 x Retain the property and [explain]: __________
                                                                                     ______________________________________


         Creditor’s                                                                  Surrender the property.                             No
         name:
                                                                                     Retain the property and redeem it.                  Yes
         Description of
         property                                                                    Retain the property and enter into a
         securing debt:                                                              Reaffirmation Agreement.
                                                                                     Retain the property and [explain]: __________
                                                                                     ______________________________________

         Creditor’s                                                                  Surrender the property.                             No
         name:
                                                                                     Retain the property and redeem it.                  Yes
         Description of
         property                                                                    Retain the property and enter into a
         securing debt:                                                              Reaffirmation Agreement.
                                                                                     Retain the property and [explain]: __________
                                                                                     ______________________________________

         Creditor’s                                                                  Surrender the property.                             No
         name:
                                                                                     Retain the property and redeem it.                  Yes
         Description of
         property                                                                    Retain the property and enter into a
         securing debt:                                                              Reaffirmation Agreement.
                                                                                     Retain the property and [explain]: __________
                                                                                     ______________________________________


  Official Form 108                           Statement of Intention for Individuals Filing Under Chapter 7                                    page 1


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Debtor 1           Ó¿®¹«»®·¬» ß²²» Ú¿´½±óÌ¿§´±®
                   ______________________________________________________                           Case number (If known)_____________________________________
                   First Name          Middle Name     Last Name




  Part 2:          List Your Unexpired Personal Property Leases

  For any unexpired personal property lease that you listed in Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G),
  fill in the information below. Do not list real estate leases. Unexpired leases are leases that are still in effect; the lease period has not yet
  ended. You may assume an unexpired personal property lease if the trustee does not assume it. 11 U.S.C. § 365(p)(2).

       Describe your unexpired personal property leases                                                                     Will the lease be assumed?

      Lessor’s name:                                                                                                           No
                                                                                                                               Yes
      Description of leased
      property:


      Lessor’s name:                                                                                                           No
                                                                                                                               Yes
      Description of leased
      property:


      Lessor’s name:                                                                                                           No

      Description of leased                                                                                                    Yes
      property:


      Lessor’s name:                                                                                                           No
                                                                                                                               Yes
      Description of leased
      property:


      Lessor’s name:                                                                                                           No
                                                                                                                               Yes
      Description of leased
      property:


      Lessor’s name:                                                                                                          No
                                                                                                                              Yes
      Description of leased
      property:


      Lessor’s name:                                                                                                          No
                                                                                                                              Yes
      Description of leased
      property:




 Part 3:           Sign Below



    Under penalty of perjury, I declare that I have indicated my intention about any property of my estate that secures a debt and any
    personal property that is subject to an unexpired lease.


       /s/ Marguerite Anne Falco-Taylor
      ___________________________________________                      ___________________________________________
      Signature of Debtor 1                                             Signature of Debtor 2

            03/18/2024
      Date _________________                                            Date _________________
            MM /     DD     /   YYYY                                         MM /   DD /   YYYY




                                                     Statement of Intention for Individuals Filing Under Chapter 7                           page 2



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B2030 (Form 2030) (12/15)




                                      United States Bankruptcy Court
                                         Western
                                        _______________              WA
                                                        District Of _______________


In re Marguerite Anne Falco-Taylor

                                                                                                Case No. ___________________

Debtor                                                                                                   é
                                                                                                Chapter ____________________

                        DISCLOSURE
                      Ü×ÍÝÔÑÍËÎÛ    OF COMPENSATION
                                 ÑÚ ÝÑÓÐÛÒÍßÌ×ÑÒ       OF ATTORNEY
                                                 ÑÚ ßÌÌÑÎÒÛÇ         FOR DEBTOR
                                                             ÚÑÎ ÜÛÞÌÑÎ

1.   Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above
     named debtor(s) and that compensation paid to me within one year before the filing of the petition in
     bankruptcy, or agreed to be paid to me, for services rendered or to be rendered on behalf of the debtor(s) in
     contemplation of or in connection with the bankruptcy case is as follows:

                                                                                                              1000
     For legal services, I have agreed to accept . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . $______________

                                                                                                            1000
     Prior to the filing of this statement I have received . . . . . . . . . . . . . . . . . . . . . . . . $______________
                                                                                                                              0
     Balance Due . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . $______________

2.   The source of the compensation paid to me was:

                Debtor                               Other (specify)

3.   The source of compensation to be paid to me is:

                Debtor                               Other (specify)

4.            I have not agreed to share the above-disclosed compensation with any other person unless they are
           members and associates of my law firm.

              I have agreed to share the above-disclosed compensation with a other person or persons who are not
           members or associates of my law firm. A copy of the agreement, together with a list of the names of the
           people sharing in the compensation, is attached.

5.   In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy
     case, including:

     a.    Analysis of the debtor' s financial situation, and rendering advice to the debtor in determining whether to
           file a petition in bankruptcy;

     b.    Preparation and filing of any petition, schedules, statements of affairs and plan which may be required;

     c.    Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned
           hearings thereof;




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     d.   Representation of the debtor in adversary proceedings and other contested bankruptcy matters;

     e.   [Other provisions as needed]




6.   By agreement with the debtor(s), the above-disclosed fee does not include the following services:
     Representing the Debtors in adversary proceedings and other contested matters;
     Conversion of case to another chapter of bankruptcy;
     Recovery of Garnished wages;
     Substantial amendments;
     and removing judgment liens on Real Estate and or personal property.




                                                      CERTIFICATION

              I certify that the foregoing is a complete statement of any agreement or arrangement for payment to
           me for representation of the debtor(s) in this bankruptcy proceeding.
            3/14/2024
           ______________________                ñ-ñ Ù®»¹±®§ É·´´·¿³ Ø·²®·½¸-»²
           Date                                      Signature of Attorney
                                                  Ù®»¹±®§ É·´´·¿³ Ø·²®·½¸-»²ô ß¬¬±®²»§ ¿¬ Ô¿©
                                                    Name of law firm




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Affirm/Celtic Bank
268 South ST #300
Salt Lake City, UT 84111


Amazon Prime
410 Terry Ave N,
Seattle, WA 98109


Best Dentistry
9776 Holman Rd NW #110
Seattle, WA 98117


Home Depot
PO Box 78011
Phoenix, AZ 85062


HSN Card/Syncb
PO Box 669803
Dallas, TX 75266


IRS
PO Box 21126
Philadelphia, PA 19114


JC Penney/Synchrony Bank
PO Box 965009
Orlando, FL 32896-5009


Kohl's
PO Box 3042
Milwaukee, WI 53201-3043




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Lowes/Synchrony Bank
PO Box 669807
Dallas TX 75266


Patenaude and Felix APC
9619 Chesapeake Drive STE 300
San Diego, CA 92123


Qcard/Synchrony Bank
PO Box 669803
Dallas, TX 75266


Sears
PO Box 78051
Phoenix, AZ 85062-8051


Sound Credit Union
PO Box 1595
Tacoma, WA 98401


Target
3901 W 53rd ST
Sioux Falls, SD 57106-4216


Key Bank Client Services
P.O. Box 5788
OH-01-51-05DF
Cleveland, OH 44101




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